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15                           UNITED STATES DISTRICT COURT
16     CENTRAL DISTRICT OF CALIFORNIA – FIRST STREET COURTHOUSE
17   Torres et al.,                              )   Case No. CV 20-4450-CBM-PVC(x)
                                                 )
18                                 Plaintiffs,   )   MEMORANDUM OF POINTS &
19                                               )   AUTHORITIES IN SUPPORT OF
                       vs.                       )   PLAINTIFF INTERVENOR
20                                               )   FAUSTINO BERNADETT’S MOTION
     Milusnic et al.,                            )   FOR ORDER GRANTING LEAVE TO
21                                               )   INTERVENE AS PLAINTIFF AND
                                 Defendants.         FOR IMMEDIATE EVALUATION
                                                 )
22                                                   PURSUANT TO THE COURT’S
                                                 )
23                                               )   ORDER OF JULY 14, 2020
                                                 )
24                                               )   DATE:     DECEMBER 29, 2020
                                                 )   TIME:     10:00 A.M.
25                                               )   PLACE:    350 W. 1ST STREET,
26                                               )             COURTROOM # 8B,
                                                 )             8TH FLOOR
27
28   ///

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 1                     Plaintiff Intervenor FAUSTINO BERNADETT (“Dr. Bernadett”),
 2   respectfully submits this Memorandum of Points and Authorities in Support of his
 3   Motion to Intervene and Request that Respondents LOUIS MILUSNIC (the warden of
 4   the Federal Correctional Complex at Lompoc, CA) and MICHAEL CARVAJAL (the
 5   director of the Bureau of Prisons) (collectively, “Respondents”) be ordered to comply
 6   with the Court’s July 14, 2020 Order by immediately evaluating Dr. Bernadett for home
 7   confinement.
 8
 9                                         I. INTRODUCTION
10                     Respondents must be required to comply with this Court’s July 14, 2020
11   Order and cannot be allowed to disregard portions of that Order. This is especially true
12   here, where Dr. Bernadett’s life and long-term health are at stake.
13                     On July 14, 2020, this Court provisionally certified a class of “all current
14   and future people in post-conviction custody at FCI Lompoc and USP Lompoc [who
15   are] over the age of 50” or who have “Underlying Health Conditions.” See Doc. 45,
16   p. 10-21 (emphasis added).
17                     The July 14, 2020 Order requires that “each” class member be fully and
18   speedily reviewed for home confinement and compassionate release by Respondents by
19   July 28, 2020, and that Respondents give “substantial weight to the inmate’s factors for
20   severe illness or death from COVID-19 based on age (over 50) or Underlying Health
21   Conditions.” See Doc. 45, p. 49. The Court specifically ordered Respondents to file
22   with the Court a declaration identifying all class members by July 22, 2020 and a
23   second declaration by July 29, 2020 “setting forth a list of class members who
24   Respondents have determined are eligible for home confinement and an explanation for
25   each denial… including an explanation of the factual basis for any factors determined
26   to outweigh the danger to the inmate from COVID-19.” Id.
27
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 1                       Respondents concede that they know the names of 261 future Lompoc
 2   inmates (like Dr. Bernadett) who are members of the class. See Doc. 56, p. 1.1
 3   Nevertheless, Respondents refuse to comply with the July 14, 2020 Order and refuse to
 4   evaluate any future inmates for home confinement, or to include their names and status
 5   in the declarations required by the Court. Id. at p. 1.2
 6                       Dr. Bernadett is a 66-year-old retired physician. He was sentenced to
 7   15 months imprisonment, 3 after pleading guilty to one count of misprision of felony
 8   under 18 U.S.C. § 4. 4 Dr. Bernadett is a first time offender who has no history of
 9   violence, sex offense, or terrorism. He has zero risk of recidivism. He is scheduled to
10   self-surrender on February 19, 2021 to the camp at Lompoc. Dr. Bernadett suffers
11   from, amongst other ailments, a chronic intermittent cough, hypertension (high blood
12   pressure), high cholesterol, and high triglycerides.5 As a result of his age, medical
13   complications, and lack of good health, Dr. Bernadett is at high risk of contracting the
14   virus and suffering lethal or permanent, devastating, and life-compromising
15   consequences. 6
16                       On May 18, 2020 (five months ago), Dr. Bernadett petitioned Respondent
17   L.J. Milsunic (as Acting Complex Warden at USP Lompoc) to be evaluated for home
18   confinement and compassionate release in accordance with the CARES Act and
19   Attorney General Barr’s April 3, 2020 order instructing that the bureau immediately
20
     1 See Doc. 56 (“. . . rosters reveal there are 261 prospective new inmates (including 144 inmates currently in other BOP
21   facilities) who are anticipated to be transferred to FCI or USP Lompoc . . .”).
     2   See Doc. 56 (“. . . I need to explain that no ‘future’ inmates were included in the lists that have been produced.”).
22
     3Dr. Bernadett was sentenced on January 17, 2020 to 15 months of incarceration by the Hon. Josephine Staton in the
23   matter of U.S. v. Faustino Bernadett (SACR 19-00121-JLS).
     4 18 U.S.C. § 4, provides that, “Whoever, having knowledge of the actual commission of a felony cognizable by a court of
24   the United States, conceals and does not as soon as possible make known the same to some judge or other person in civil or
     military authority under the United States, shall be fined under this title or imprisoned not more than three years, or both.”
25
     5 See Declaration of Robert Lugliani (“Lugliani Decl.”), attached hereto as Exhibit A; Declaration of Dr. Michael Del
26   Vicario (“Del Vicario Decl.”) attached hereto as Exhibit B; Declaration of Dr. Christopher Traughber (“Traughber Decl.”),
     attached hereto as Exhibit C.
27   6   See Declaration of Marc Stern, M.D., M.P.H., attached hereto as Exhibit D (“Stern Decl.”), ¶ 8.

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 1   begin transferring vulnerable and elderly inmates (like Dr. Bernadett) at impacted
 2   facilities to home confinement. No response to that petition was received.
 3                     On July 16, 2020 (two days after the Court’s July 14, 2020 Order),
 4   Dr. Bernadett notified Respondents (through counsel) that he was a class member and
 5   requested to be evaluated for home confinement pursuant the Order. Dr. Bernadett’s
 6   notification included his prior May 18, 2020 Petition to Respondent Milsunic, along
 7   with his medical information, his Presentence Investigation Report, and his plan for
 8   home confinement. Dr. Bernadett also offered to provide any additional information
 9   Respondents needed.
10                     Despite having access to the information, Respondents argue that they are
11   incapable of reviewing future inmates (like Dr. Bernadett) for home confinement. See
12   Doc. 56, p. 2.7 This is unconvincing and confirms that Respondents simply have not
13   even tried to comply with the full scope of the July 14, 2020 Order.
14                     Respondents have made clear that they will not even consider a request for
15   home confinement until after Dr. Bernadett reports to Lompoc. Respondent’s position
16   requires elderly and vulnerable class members to be exposed to a facility:
17                     (1) where more than 1,000 inmates have contracted COVID-19;
18                     (2) where the Court found that “meaningful social distancing is not
19   possible [] absent a reduction in the inmate population, thereby placing medically
20   vulnerable inmates at Lompoc at significant risk of contracting COVID-19.” (See
21   Doc. 45, p. 32.);
22                     (3) where Dr. Venters (the Court-appointed Rule 706 expert) recently
23   “….raise[d] concerns regarding the safety of Lompoc inmates and measures that should
24   be implemented to prevent [the] spread of COVID-19…” (See Court’s October 8, 2020
25   Order, Doc. 105, p. 4, n.2.); and
26
     7 “The Warden at FCC Lompoc does not have any authority over, nor does she play any role in the home confinement
27   considerations or RIS processing of inmates not entrusted to her care.”

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 1                     (4) where the Office of the Inspector General recently issued a critical
 2   report stating that Lompoc “will again face a shortage of medical and correctional staff
 3   when [temporary] staff return to their home institutions.”8
 4                     The BOP has apparently taken the initiative by requiring that a prisoner
 5   serve at least 25% of their sentence and thereafter a request for review would be put at
 6   the “back of the line.” Unfortunately, without action by this Court Dr. Bernadett would
 7   have to be in prison a minimum of three to four months, plus processing time, before
 8   being considered regardless of how entitled he may be to immediate review and
 9   designation to home confinement. Respondents’ order of operations defies logic
10   because the surest way to simultaneously prevent the spread of the virus and to reduce
11   the inmate population is to evaluate inmates before they report.
12                     Respondents’ position contradicts the intent of Congress in passing the
13   CARES Act, Attorney General Barr’s directive and this Court’s July 14, 2020 Order.
14   Evaluating Dr. Bernadett and other elderly and vulnerable future Lompoc inmates
15   immediately is not only the directive of this Court, but doing so is in the best interest of
16   the inmate population and staff at Lompoc, the local community surrounding Lompoc,
17   and all vulnerable inmates.
18                     Dr. Bernadett, has a pressing, material, and significant interest in this case
19   because he is entitled to be immediately evaluated for home confinement before
20   reporting to Lompoc, but Respondents refuse to do so. Dr. Bernadett hereby respect-
21   fully seeks to intervene so that his concerns may be heard and adjudicated. The
22   Petitioners do not object to Dr. Bernadett’s intervention.
23                     Dr. Bernadett had hoped to avoid this motion and has met and conferred
24   with Respondents on several occasions. While Respondents’ counsel has been gracious
25   and helpful, unfortunately, no agreement could be reached. In light of the current state
26
     8See Pandemic Response Report: Remote Inspection of Federal Correctional Complex Lompoc, Department of Justice,
27   Office of the Inspector General, July 2020, P. 3

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 1   of the pandemic, Dr. Bernadett’s vulnerabilities, and his fast approaching February 19,
 2   2021 self-surrender date, Dr. Bernadett’s intervention and immediate evaluation for
 3   home confinement are now both urgent and necessary.
 4
 5                                          II. STATEMENT OF FACTS
 6              A.      Dr. Bernadett is scheduled to self-surrender to Lompoc on
 7                      February 19, 2021.
 8                      Dr. Bernadett is a retired physician. He is a white-collar non-violent first-
 9   time offender. On January 17, 2020, Dr. Bernadett was sentenced to 15 months
10   incarceration by the Honorable Josephine L. Staton (“Judge Staton”).9 Judge Staton
11   ordered Dr. Bernadett to self-surrender to the custody of the Bureau of Prisons 10 and
12   Dr. Bernadett was designated to the camp at Lompoc. As of the January 17, 2020
13   sentencing, the impact of COVID-19 on elderly and vulnerable inmates like
14   Dr. Bernadett (especially at BOP facilities like Lompoc) could not be foreseen.
15                      Dr. Bernadett’s surrender date is currently scheduled for February 19,
16   2021. 11
17              B.      Evaluations by three separate doctors confirm that Dr. Bernadett’s
18                      underlying health conditions put him at high risk from the virus.
19                      Dr. Bernadett is 66 years of age. He was recently evaluated by three
20   separate medical doctors. All three confirmed that Dr. Bernadett suffers from multiple
21   ailments that make him susceptible to, and easily compromised by the virus.
22                      The August 25, 2020 evaluation prepared Dr. Michele Del Vicario, M.D.
23   (the former head of the Cardio Vascular department at Providence Little Company of
24   ///
25
     9   See U.S. v. Faustino Bernadett (SACR 19-00121-JLS), Doc. 50.
26   10   Id.
27   11   Dr. Bernadett’s original self-surrender date was continued due to the COVID-19 pandemic.

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 1   Mary Medical Center and the former Chief of Staff at Little Company of Mary
 2   Hospital), provides in relevant part:
 3                     It is my understanding that the patient in the future may be
 4                     incarcerated. It is my strong recommendation that the patient
                       should not be put him in harm’s way, that he is in an
 5                     environment where COVID-19 may be prevalent and would
 6                     expose him to significant health risk with the possibility of
                       even death if he should contract the viral infection.
 7                     Specifically, he has multiple risk factors that would make him
 8                     substantially more vulnerable than the general population;
                       these include age, hypertension which presently is
 9                     inadequately controlled, asthma and potentially underlying
10                     significant pulmonary dysfunction as to be determined by his
                       pulmonologist. Additionally, he is somewhat overweight,
11                     adding an extra risk factor. All this in addition to the
12                     possibility that the patient has underlying coronary artery
                       disease which will be assessed in the near future with a stress
13                     echo. See Del Vicario Decl., Notes p. 4.
14
15   Similarly, the August 27, 2020 letter from Dr. Christopher Traughber (who is in charge
16   of urgent care at the Palos Verdes Family and Immediate Medical Care Center),
17   provides:
18
                       I am writing this letter on behalf of my patient Faustino,
19                     Bernadett DOB: 05/29/1954 in effort to avoid any
                       unnecessary exposure to the Covid-19 virus during his
20
                       upcoming incarceration, due to his risk factors that increase
21                     his risk of harmful Covid-19 infection outcome.
                       1. Age > 65 years old
22
                       2. Overweight (BMI 27)
23                     3. Hypertension, under treatment
                       4. Hyperlipidemia, under treatment
24
                       5. History: of respiratory disease with chronic cough and
25                     asthma
                       6. Elevated PSA with prostatic hypertrophy and significant
26
                       family history of aggressive prostate cancer in brother.
27                     These risk factors increase his risk of poor outcome including
                       death, to Covid-19 infection. See Dr. Traughber Decl.
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 1   In addition, Dr. Robert Lugliani, a pulmonologist and Dr. Bernadett’s primary-care
 2   physician, also previously examined and evaluated Dr. Bernadett. His report states:
 3   “COVID-19 is currently in pandemic with a resurgence of cases in Los Angeles
 4   County . . . Patient is advised of his high risk status due to age, hypertension, heart
 5   disease risk, weight, pulmonary risk and potentially immunocompromised position due
 6   to his elevated prostate specific antigen, which may indicate early prostate cancer,
 7   especially due to his youngest brother just completing treatment for an aggressive form
 8   of same. Patient advised to stay home as much as possible . . .” See Dr. Lugliani Decl.,
 9   Letter, p. 5.
10                     In addition to his advanced age, each of these conditions contributes to
11   Dr. Bernadett’s increased susceptibility to contracting COVID-19, and increases his
12   likelihood of suffering either fatal or life-long impairments from the disease. See Stern
13   Decl. ¶¶ 14 & 15.
14            C.       Procedural Background.
15                     On April 3, 2020, in response to the COVID-19 pandemic and calls to
16   reduce the federal inmate population, Attorney General Barr invoked the CARES Act
17   and ordered the Bureau of Prisons to “immediately maximize appropriate transfers to
18   home confinement of all appropriate inmates held at FCI Oakdale, FCI Danbury, FCI
19   Elkton, and at other similarly situated BOP facilities where covid-19 is materially
20   affecting operations.”12
21                     On May 16, 2020, Petitioners Yonnedil Carror Torres, Vincent Reed, Felix
22   Samuel Garcia, Andre Brown, and Shawn Fears (the “Petitioners”), inmates
23   incarcerated at FCC Lompoc, filed the instant case on behalf of “all current and future
24   people in post-conviction custody at Lompoc.” See Doc. 1, ¶ 96.
25   ///
26
     12
       Attorney General William Barr, Increasing Use of Home Confinement at Institutions Most Affected by COVID-19,
27   (April 3, 2020) https://www.justice.gov/file/1266661/download.

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 1                     On May 18, 2020 (five months ago), Dr. Bernadett independently
 2   petitioned Respondent L.J. Milsunic (as Acting Complex Warden at USP Lompoc) to
 3   be evaluated for home confinement and compassionate release in accordance with the
 4   CARES Act and Attorney General Barr’s April 3, 2020 order instructing that the BOP
 5   immediately begin transferring vulnerable and elderly inmates (like Dr. Bernadett) to
 6   home confinement. 13 Respondent did not respond to Dr. Bernadett’s May 18, 2020
 7   petition.
 8                     On June 1, 2020, Petitioners applied to this Court for a preliminary
 9   injunction requesting that Respondents (1) put in place a process-based remedy that
10   requires Respondents to evaluate prisoners for home confinement on an accelerated
11   basis and to eliminate eligibility barriers that categorically exclude most prisoners from
12   consideration, and (2) to institute social distancing, sanitation, and medical treatment
13   policies that would bring prison conditions in compliance with the Eighth Amendment.
14   See Doc. 18.
15                     On June 4, 2020, Petitioners moved the Court to certify a class of current
16   and future Lompoc prisoners over the age of 50 and with pre-existing medical condi-
17   tions, all of whom would be profoundly affected by the outcome of this litigation. See
18   Doc. 22.
19                     In July 2020, the Department of Justice Office of Inspector General issued
20   its Pandemic Response Report 20-086 (Remote Inspection of Federal Correctional
21   Complex Lompoc), which was critical of the facilities response to the Pandemic.
22                     This Court’s July 14, 2020 Order granted Petitioners’ request for issuance
23   of a preliminary injunction, finding: “Petitioners show they are at substantial risk of
24   exposure to COVID-19, which is inconsistent with contemporary standards of human
25   decency.” See Doc. 45, p. 18. The Court found that “meaningful social distancing is
26
     13See Request for Home Confinement Evaluation Before August 18, 2020 Self-Surrender to FCC Lompoc, attached
27   hereto as Exhibit E.

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 1   not possible at Lompoc absent a reduction in the inmate population, thereby placing
 2   medically vulnerable inmates at Lompoc at significant risk of contracting COVID-19.”
 3   See Doc. 45, p. 32.
 4                     The Court also found that “there is no evidence Respondents are priori-
 5   tizing their use of statutory authority under the CARES Act to grant home confinement
 6   to Lompoc inmates in light of the pandemic, or giving due consideration to inmates’
 7   age or medical conditions in evaluating eligibility of home confinement.” See Doc. 45,
 8   p. 32. In light of these findings, the Court certified a class of inmates defined, in-part,
 9   as: “all current and future people in post-conviction custody[ 14] at FCI Lompoc and
10   USP Lompoc over the age of 50, and all current and future people in post-conviction
11   custody at FCI Lompoc and USP Lompoc of any age with underlying health
12   conditions . . .” See Doc. 45, p. 48.
13                     The Court instructed that by “no later than July 20, 2020” the BOP should
14   file a “list with the Court which . . . identifies all members of the class defined in this
15   Order . . .” See Doc. 45, p. 48. The Court also ordered that the Government “make full
16   and speedy use of [its] authority under the CARES Act and evaluate each class
17   member’s eligibility for home confinement which gives substantial weight to the
18   inmate’s risk factors for severe illness or death from COVID-19 based on age (over 50)
19   or Underlying Health Conditions.” See Doc. 45, p. 49.
20                     On July 16, 2020 (two days after the Court’s July 14, 2020 Order was
21   issued), Dr. Bernadett notified Respondents (through counsel) that he is a class member
22   and requested to be evaluated for home confinement. Dr. Bernadett’s notification
23   included his prior May 18, 2020 Petition to Respondent Milsunic, along with his
24   14 Dr. Bernadett is a future person in post-conviction custody under the Court’s July 14, 2020 Order. See Maleng v. Cook,

     490 U.S. 488, 491 (1989) (“Our interpretation of the ‘in custody’ language has not required that a prisoner be physically
25   confined in order to challenge his sentence on habeas corpus.”); Hensley v. Municipal Court, 411 U.S. 345, 351 (1973)
     (Supreme Court finding for an inmate released on his own recognizance pending execution of sentence, “we can only
26   conclude that petitioner is in custody for purposes of the habeas corpus statute.”); Jones v. Cunningham, 371 U.S. 236,
     239-40 (1963) (an individual is in custody even if not presently incarcerated if there is a significant restraint on the
27   individual’s liberty “not shared by the public generally.”)

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 1   medical information, his Presentence Investigation Report, and his plan for home
 2   confinement. Dr. Bernadett also offered to provide any additional information that
 3   Respondents may require. 15
 4                       On July 20, 2020, the BOP filed, under seal, a list that purported to contain
 5   the names and information of class members. See Doc. 49. On July 22, 2020, the BOP
 6   filed the declaration of Todd Javernick, an assistant warden at Lompoc, which stated:
 7   “I need to explain that no ‘future’ inmates were included in the lists that have been
 8   produced…” See Doc. 56, p. 1 (emphasis added). 16
 9                       Despite the Court’s July 14, 2020 Order, Dr. Bernadett is informed and
10   believes that Respondents have not evaluated him for home confinement and that his
11   name was not included on the lists that Respondents provided to the Court.
12                       On September 1 and 2, 2020, a site inspection of Lompoc was conducted
13   by Dr. Venters, the Court-appointed Rule 706 expert.
14                       On September 10, 2020, Petitioners filed their Motion to Enforce
15   Compliance with Preliminary Injunction and for Order to Show Cause. See Doc. 93.
16   That Motion did not address Respondents’ refusal to review for home confinement
17   class members who had not yet reported to Lompoc.
18                       On September 25, 2020, Dr. Venters’ report regarding his Lompoc site
19   visit was filed. See Doc. 101. “Dr. Venters’ Expert Report raises concerns regarding
20   the safety of Lompoc inmates and measures that should be implemented to prevent
21   Spread of COVID-19 at Lompoc.” See Court’s October 8, 2020 Order, Doc. 105, p. 4,
22   n.2.
23                       On October 2, 2020, Senators Richard “Dick” Durbin (of the Senate
24   Judiciary Committee) and Elizabeth Warren sent a joint letter to Attorney General Barr
25
     15
26     See Notice of Defendant Faustino Bernadett’s Status as a Member of the Provisional Class Established by the Honorable
     Consuelo Marshall’s July 14, 2020 Order, attached hereto as Exhibit F.
27   16   Of note, Respondents have not disputed that future inmates are members of the class.

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 1   and Michael Carvajal (Director of the BOP) that is critical of the BOP’s response to the
 2   pandemic and demands that more be done to reduce inmate populations, stating in part:
 3                     Based on BOP statistics, the rate of infection within BOP
 4                     remains nearly four and a half times higher than in the general
                       population. This is mounting evidence that efforts to contain
 5                     the virus within BOP facilities are failing. As Director
 6                     Carvajal recognized when he testified in June, the best way to
                       reduce the spread of the virus is through social distancing, but
 7                     “prisons by design are not made for social distancing.” In
 8                     fact, social distancing is virtually impossible to maintain
                       inside prison facilities absent substantial population
 9                     reductions, but DOJ and BOP continue to make only minimal
10                     use of its authority to release inmates to home confinement.
                       While decisions to release inmates are no doubt complex, you
11                     must do more to release inmates. See October 2, 2020 Letter,
12                     attached hereto as Exhibit G.
13                     On October 8, 2020, the Court entered the Order Granting Motion to
14   Enforce Compliance with Preliminary Injunction and Order to Show Cause. See
15   Doc. 105.
16                     No future Lompoc inmates are Petitioners in this case and counsel for
17   Petitioners have indicated they are not aware of any other future Lompoc inmates (other
18   than Dr. Bernadett) who intend to intervene.
19
20                                           III. ARGUMENT
21            A.       Legal Standard.
22                     Courts “must permit” intervention when the intervenor “claims an interest
23   relating to the property or transaction that is the subject of the action, and is so situated
24   that disposing of the action may as a practical matter impair or impede the movant’s
25   ability to protect its interest, unless existing parties adequately represent that interest.”
26   See Fed. R. Civ. P. 24(a)(2). The Court also “may permit” permissive intervention for
27   an intervenor who “has a claim or defense that shares with the main action a common
28   question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). In assessing either type of
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 1   intervention, “[c]ourts are to take all well-pleaded, nonconclusory allegations in the
 2   motion to intervene, the proposed complaint or answer in intervention, and declarations
 3   supporting the motion as true absent sham, frivolity or other objections.” Sw. Ctr. for
 4   Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir. 2001). Under these standards,
 5   Dr. Bernadett respectfully submits that he is entitled to mandatory intervention or, in
 6   the alternative, permissive intervention. Alternatively, this Court may grant
 7   Dr. Bernadett’s request pursuant to Fed. R. Civ. P. 71 which states, “[w]hen an order
 8   grants relief for a nonparty or may be enforced against a nonparty, the procedure for
 9   enforcing the order is the same as for a party.”
10                     Furthermore this Court has the inherent authority to enforce its own orders
11   and to compel Respondents to comply with the July 14, 2020 Order, by ordering that
12   Dr. Bernadett be immediately evaluated for home confinement. See Court’s October 8,
13   2020 Order Granting Motion to Enforce Compliance with Preliminary Injunction and
14   Order to Show Cause, and cases cited therein, Doc. 105; see also, Buono v.
15   Kempthorne, 502 F. 3d 1069, 1081 n.11 (9th Cir. 2007); Reebok Int'l Ltd. v.
16   McLaughlin, 49 F.3d 1387, 1390 (9th Cir. 1995); Emma C. v. Eastin, 2007 U.S. Dist.
17   LEXIS 95437, *5 (N.D. Cal. 2007); U.S. v. Payne, 2017 U.S. Dist. LEXIS 20046, *8
18   (D. Nev. 2017).
19            B.       Dr. Bernadett is entitled to mandatory intervention under FRCP
20                     24(a).
21                     “When analyzing a motion to intervene of right under FRCP Rule 24(a)(2),
22   [courts in the Ninth Circuit] apply a four-part test: (1) the motion must be timely;
23   (2) the applicant must claim a ‘significantly protectable’ interest relating to the property
24   or transaction which is the subject of the action; (3) the applicant must be so situated
25   that the disposition of the action may as a practical matter impair or impede its ability to
26   protect that interest; and (4) the applicant’s interest must be inadequately represented by
27   the parties to the action.” Wilderness Soc. v. U.S. Forest Serv., 630 F.3d 1173, 1177
28   (9th Cir. 2011).
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 1                     The four-part test is construed “liberally in favor of potential intervenors.”
 2   Sw. Ctr. for Biological Diversity, 268 F.3d at 818; Wash. State Bldg. & Const. Trades
 3   Council, AFL-CIO v. Spellman, 684 F.2d 627, 630 (9th Cir. 1982) (“Rule 24 tradi-
 4   tionally has received a liberal construction in favor of applicants for intervention.”);
 5   United States v. State of Or., 745 F.2d 550, 552 (9th Cir. 1984) (noting that the “factors
 6   of Rule 24(a) should be construed favorably to intervenor”); United States v. Alisal
 7   Water Corp., 370 F.3d 915, 919 (9th Cir. 2004) (noting that “the requirements for
 8   intervention are broadly interpreted in favor of intervention”). “A liberal policy in
 9   favor of intervention serves both efficient resolution of issues and broadened access to
10   the courts.” United States v. City of Los Angeles, Cal., 288 F.3d 391, 397–98 (9th Cir.
11   2002) (quotation omitted). Each factor supports Dr. Bernadett’s intervention here.
12                     1.    Dr. Bernadett’s Motion is timely (Factor One).
13                     Dr. Bernadett’s intervention request is timely because this case is still in its
14   infancy, because Dr. Bernadett’s February 19, 2021 surrender date is quickly approach-
15   ing and because the request is made soon after it became clear that Respondents would
16   not comply with the July 14, 2020 Order. “Timeliness is a flexible concept; its determi-
17   nation is left to the district court’s discretion.” Alisal, 370 F.3d at 921. Courts in the
18   Ninth Circuit consider three factors in evaluating timeliness of a motion to intervene:
19   “(1) the stage of the proceeding at which an applicant seeks to intervene; (2) the
20   prejudice to other parties; and (3) the reason for and length of the delay.” Cal. Dep’t of
21   Toxic Substances Control v. Commercial Realty Projects, Inc., 309 F.3d 1113, 1119
22   (9th Cir. 2002) (citation and internal quotation marks omitted); see also United States v.
23   California, 538 F. App’x 759, 760 (9th Cir. 2013). “[T]he mere lapse of time, without
24   more, is not necessarily a bar to intervention.” Alisal, 370 F.3d at 921; see also
25   Oregon, 745 F.2d at 552 (“Mere lapse of time alone is not determinative.”). Indeed, the
26   Ninth Circuit has allowed intervention as long as seventeen years after the adoption of a
27   consent decree. See Smith v. L.A. Unified Sch. Dist., 830 F.3d 843, 854 (9th Cir. 2016).
28   “[T]he timeliness requirement for intervention as of right should be treated more
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 1   leniently than for permissive intervention because of the likelihood of more serious
 2   harm.” Oregon, 745 F.2d at 552.
 3                           a.     This case is in its infancy, and Dr. Bernadett is intervening
 4                                  quickly.
 5                     The relevant date for determining how fast an intervenor should act to
 6   intervene is when the intervenor developed an interest in the lawsuit and realized that
 7   that interest was not adequately protected. Smith v. Marsh, 194 F.3d 1045, 1052 (9th
 8   Cir. 1999) (“The crucial date for assessing the timeliness of a motion to intervene is
 9   when proposed intervenors should have been aware that their interests would not be
10   adequately protected by the existing parties.”). “[A] party’s interest in a specific phase
11   of a proceeding may support intervention at that particular stage of the lawsuit.” Alisal,
12   370 F.3d at 921.
13                     Here, not only is Dr. Bernadett intervening within four months of the filing
14   of this case (May 16, 2020), but he is intervening a mere three months after the Court
15   issued its July 14, 2020 Order, and just days after it became clear that Respondents
16   would not comply with the Order. As such, Dr. Bernadett is promptly and without
17   delay moving to intervene in this case.
18                           b.     No Parties Will Be Prejudiced by Dr. Bernadett’s
19                                  Intervention.
20                     Prejudice to the existing parties is “the most important consideration in
21   deciding whether a motion for intervention is untimely.” Oregon, 745 F.2d at 552
22   (quoting 7A C. Wright & A. Miller, Federal Practice and Procedure § 1916, at 575
23   (1972)). As the Ninth Circuit has made clear, “the only ‘prejudice’ that is relevant
24   under this factor is that which flows from a prospective intervenor’s failure to intervene
25   after he knew, or reasonably should have known, that his interests were not being
26   adequately represented.” L.A. Unified Sch. Dist., 830 F.3d at 857. Parties opposing
27   intervention must show that “their problems are materially different now than they
28   would have been had” the intervenor moved in a more timely fashion. Oregon, 745
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 1   F.2d at 553. Any prejudice must be “because of the passage of time.” Id. (emphasis
 2   added); see also Banneck v. Fed. Nat’l Mortg. Ass'n, No. 3:17-CV-04657-WHO, 2018
 3   WL 3417477, at *3 (N.D. Cal. July 13, 2018) (granting motion to intervene because
 4   any “potential prejudice is not attributable to the timing of [intervenor’s] motion, which
 5   is the only prejudice that’s pertinent to the analysis”).
 6                     The existing parties will not be prejudiced by Dr. Bernadett’s intervention.
 7   This case has just begun and no significant discovery has taken place. Petitioners do
 8   not oppose Dr. Bernadett’s intervention. As such, Dr. Bernadett’s Motion is timely.
 9                     2.    Dr. Bernadett has a significantly protectable interest in this
10                           action because he is scheduled to report to Lompoc on
11                           February 19, 2021 (Factor Two).
12                     Dr. Bernadett has a significant protectable interest in this action because it
13   directly impacts his life, liberty, health, and safety. “[I]f an absentee would be
14   substantially affected in a practical sense by the determination made in an action, he
15   should, as a general rule, be entitled to intervene.” Fed. R. Civ. P. 24, Advisory
16   Committee Notes, 1966 Amendments; see also Arakaki v. Cayetano, 324 F.3d 1078,
17   1086 (9th Cir. 2003) (relying on the above comment in the advisory notes). The key
18   question is whether the intervenor will “suffer a practical impairment of its interests as
19   a result of the pending litigation.” Wilderness Soc., 630 F.3d at 1179 (quoting
20   California ex rel. Lockyer v. United States, 450 F.3d 436, 441 (9th Cir. 2006)). “To
21   demonstrate a significant protectable interest, an applicant must establish that the
22   interest is protectable under some law and that there is a relationship between the
23   legally protected interest and the claims at issue.” Citizens for Balanced Use v.
24   Montana Wilderness Ass’n, 647 F.3d 893, 897 (9th Cir. 2011). A “constitutional
25   interest” clearly qualifies as such a legally protectable interest. See, e.g., Habeas
26   Corpus Res. Ctr. v. United States Dep’t of Justice, No. C 13-4517 CW, 2013 WL
27   6157321, at *1 (N.D. Cal. Nov. 22, 2013); Freeman v. Delta Air Lines, Inc., No. C 13-
28   04179 JSW, 2014 WL 5830246, at *2 (N.D. Cal. Nov. 10, 2014); Hazel Green Ranch,
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 1   LLC v. U.S. Dep’t of Interior, No. 1:07-CV-00414-OWW-SMS, 2007 WL 2580570, at
 2   *8 (E.D. Cal. Sept. 5, 2007).
 3                     As a member of the provisional class, the July 14, 2020 Order requires
 4   Respondents to evaluate Dr. Bernadett for home confinement. However, Respondents
 5   failed to do so and did not submit Dr. Bernadett’s name (or the names of any other
 6   future Lompoc inmates) to the Court. Whether respondents are required to comply with
 7   the July 14, 2020 Order, and the extent to which this litigation affects the conditions of
 8   confinement at Lompoc, have direct bearing on Dr. Bernadett’s life, liberty, health, and
 9   safety, all of which are significantly protectable interests that will be impacted by the
10   outcome of this case.
11                     3.    The disposition of the action may impair or impede
12                           Dr. Bernadett’s ability to protect his interest (Factor Three).
13                     Dr. Bernadett will self-report to Lompoc on February 19, 2021. Despite
14   the Court’s July 14, 2020 Order, Respondents are refusing to evaluate Dr. Bernadett for
15   home confinement before he reports. Dr. Bernadett’s intervention is necessary to
16   enforce his rights under the Order. Furthermore, the outcome of this case, and whether
17   future inmates are evaluated for home confinement, will mean the difference between
18   Dr. Bernadett (and those like him) serving his sentence in a safe location or at Lompoc
19   where more than 1,000 prisoners have contracted the virus, where the Court has found
20   that the conditions do not comport with modern human decency, where testing and
21   staffing are in woefully short supply, where adequate social distancing is impossible,
22   and where the OIG has concluded that a resurgence of the virus may occur when
23   temporary staff are sent back to their home institutions. As such, intervention is
24   necessary because disposition of the action may impair or impede Dr. Bernadett’s
25   interests.
26   ///
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 1                     4.    Dr. Bernadett’s interest is not adequately represented because
 2                           he is scheduled to report on February 19, 2021, and
 3                           Respondents refuse to evaluate him for home confinement
 4                           despite the July 14, 2020 Order (Factor Four).
 5                     Despite the clear language of the July 14, 2020 Order, Respondents still
 6   refuse to immediately evaluate Dr. Bernadett for home confinement. Dr. Bernadett’s
 7   February 19, 2021 self-surrender date is quickly approaching, which makes this Motion
 8   necessary to protect his interests.
 9                     Petitioners consent to Dr. Bernadett’s intervention in this matter.
10   Petitioners and their counsel have heroically undertaken a herculean task on behalf of
11   the provisional class. However, Dr. Bernadett’s specific circumstances (including his
12   medical background) and fast approaching surrender date confirm that intervention is
13   necessary to adequately represent his interests. “In determining whether a party will
14   adequately represent an intervenor’s interest, the Court considers several factors, such
15   as whether an existing party will make all of the intervenor’s arguments, whether an
16   existing party is capable of and willing to make such arguments, and whether the
17   intervenor offers any necessary element to the proceedings that would be neglected.”
18   Prete v. Bradbury, 438 F.3d 949, 956 (9th Cir. 2006). “The burden on proposed
19   intervenors in showing inadequate representation is minimal, and would be satisfied if
20   they could demonstrate that representation of their interests ‘may be’ inadequate.”
21   Arakaki, 324 F.3d at 1086 (quoting Trbovich v. United Mine Workers, 404 U.S. 528,
22   538 n.10 (1972)).
23                     Here, all of the Petitioners are incarcerated. See Doc. 45, p. 6–10. They
24   are not future Lompoc inmates, like Dr. Bernadett. Petitioners are understandably
25   working hard on behalf of the entire class to (among other things) require Respondents
26   to establish and adhere to a process whereby incarcerated inmates are properly
27
28   ///
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 1   reviewed for home confinement. However, there is currently no process for evaluating
 2   future Lompoc inmates. 17 Intervention is necessary here due to Dr. Bernadett’s specific
 3   circumstances, his fast approaching surrender date and Respondent’s refusal to comply
 4   with the July 14, 2020 Order.
 5                     Dr. Bernadett’s request for home confinement, made directly to the BOP,
 6   has fallen on deaf ears. As a member of the class, Dr. Bernadett has a material interest
 7   in the outcome of the litigation (which lacks a future inmate as a plaintiff) and he
 8   should be permitted to intervene so that the Court may rule on his request to be
 9   evaluated pursuant to the Court’s July 14, 2020 Order.
10            C.       Alternatively, the Court should grant permissive intervention under
11                     FRCP 24(b) or should rule on Dr. Bernadett’s request under
12                     FRCP 71.
13                     An applicant for permissive intervention must show “(1) independent
14   grounds for jurisdiction; (2) the motion is timely; and (3) the applicant’s claim or
15   defense, and the main action, have a question of law or a question of fact in common.”
16   Perry v. Proposition 8 Official Proponents, 587 F.3d 947, 955 (9th Cir. 2009)
17   (quotation omitted).
18                     These requirements are clearly met here. There are independent grounds
19   for jurisdiction over Dr. Bernadett’s claims under the CARES Act. Dr. Bernadett’s
20   motion is timely, as discussed above, and Dr. Bernadett’s claim has factual and legal
21   overlap with this action, insofar as he is a member of the provisional class certified by
22   this Court in the July 14, 2020 Order. The Court’s enforcement of the Order and its
23   future orders relating to the class will have direct bearing on Dr. Bernadett’s future life
24   and liberty. As such, permissive intervention should be permitted.
25   ///
26
     17For example, Petitioners have not yet raised an objection to the Respondents’ position on excluding future inmates from
27   the class roster.

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 1                     Alternatively, this Court may grant Dr. Bernadett’s request pursuant to
 2   Fed. R. Civ. P. 71 which states, “[w]hen an order grants relief for a nonparty or may be
 3   enforced against a nonparty, the procedure for enforcing the order is the same as for a
 4   party.” As such, irrespective of whether or not Dr. Bernadett may intervene in this
 5   matter, the Court may still rule on his request because the July 14, 2020 grants him
 6   relief.
 7             D.      Respondents should be ordered to immediately evaluate Dr. Bernadett
 8                     for home confinement pursuant to the Court’s July 14, 2020 Order.
 9                     Respondents must be required to comply with this Court’s July 14, 2020
10   Order. Dr. Bernadett’s life and long-term health are at stake.
11                     On July 14, 2020, this Court held that “The evidence before the Court
12   demonstrates meaningful social distancing is not possible at Lompoc absent a reduction
13   in the inmate population, thereby placing medically vulnerable inmates at Lompoc at
14   significant risk of contracting COVID-19.” See Doc. 45, p. 32, ll. 1–4. The Court
15   provisionally certified a class of “all current and future people in post-conviction
16   custody at FCI Lompoc and USP Lompoc [who are] over the age of 50” or who have
17   “Underlying Health Conditions.” See Doc. 45, ll. 10–21 (emphasis added).
18   The July 14, 2020 Order provides that:
19                     No later than July 28, 2020, Respondents shall make full and
20                     speedy use of their authority under the CARES ACT and
                       evaluate each class member’s eligibility for home
21                     confinement which gives substantial weight [ 18] to the
22                     inmate’s factors for sever illness or death from COVID-19
                       based on age (over 50) or Underlying Health Conditions. See
23                     Doc. 45, p. 49, ll. 11-14 (emphasis added).
24   ///
25
26   18The Court’s Order requiring that “substantial weight” be given to each class member’s risk factors, does not permit
     Respondents to deny home confinement to future inmates simply for not yet serving an arbitrary percentage of their
27   sentence.

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 1   The Court specifically ordered Respondents to file with the Court a declaration
 2   identifying all class members by July 22, 2020 and a second declaration by July 29,
 3   2020 “setting forth a list of class members who Respondents have determined are
 4   eligible for home confinement and an explanation for each denial… including an
 5   explanation of the factual basis for any factors determined to outweigh the danger to the
 6   inmate from COVID-19.” Id.
 7                       Respondents concede that they know the names of 261 future Lompoc
 8   inmates (like Dr. Bernadett) who are members of the class. See Doc. 56, p. 1.19
 9   Nevertheless, Respondents refuse to comply with the July 14, 2020 Order and refuse to
10   evaluate any future inmates for home confinement, or to include their names and status
11   in the declarations required by the Court. Id. at p. 2 20
12                       This Court has the inherent authority to enforce its own orders and to
13   compel Respondents to comply with the July 14, 2020 Order, by ordering that
14   Dr. Bernadett be immediately evaluated for home confinement. See Buono v.
15   Kempthorne, 502 F. 3d 1069, 1081 n.11 (9th Cir. 2007); Reebok Int'l Ltd. v.
16   McLaughlin, 49 F.3d 1387, 1390 (9th Cir. 1995); Emma C. v. Eastin, 2007 U.S. Dist.
17   LEXIS 95437, *5 (N.D. Cal. 2007); U.S. v. Payne, 2017 U.S. Dist. LEXIS 20046, *8
18   (D. Nev. 2017); see also Fed. R. Civ. P. 71 (“[w]hen an order grants relief for a
19   nonparty or may be enforced against a nonparty, the procedure for enforcing the order
20   is the same as for a party.”).
21                       Dr. Bernadett is a 66 year old non-violent first time offender who was
22   sentenced to 15 months imprisonment on January 17, 2020,21 after pleading guilty to
23   ///
24
     19 See Doc. 56 (“. . . rosters reveal there are 261 prospective new inmates (including 144 inmates currently in other BOP
25   facilities) who are anticipated to be transferred to FCI or USP Lompoc . . .”).
     20
26        See Doc. 56 (“. . . I need to explain that no ‘future’ inmates were included in the lists that have been produced.”).
     21Dr. Bernadett was sentenced on January 17, 2020 to 15 months of incarceration by the Hon. Josephine Staton in the
27   matter of U.S. v. Faustino Bernadett (SACR 19-00121-JLS).

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 1   one count of misprision of felony under 18 U.S.C. § 4. 22 For more than 14-months
 2   (since his August 15, 2019 change of plea hearing), Dr. Bernadett has successfully and
 3   positively functioned in the community while under supervised release, with no
 4   incidents or violations. Dr. Bernadett has complied with all post-conviction reporting
 5   and supervision requirements.
 6                       Dr. Bernadett is scheduled to self-surrender on February 19, 2021 to the
 7   low security camp at Lompoc. As discussed above and as shown by the accompanying
 8   declarations from his doctors, Dr. Bernadett suffers from serious compromising
 9   ailments. 23 As a result of his age, medical complications, and lack of good health,
10   Dr. Bernadett is at high risk of contracting the virus and suffering lethal or permanent,
11   devastating, and life-compromising consequences. 24
12                       Respondents have possessed sufficient information to evaluate
13   Dr. Bernadett for months. On May 18, 2020 (five months ago), Dr. Bernadett
14   petitioned the Respondent L.J. Milsunic (as Acting Complex Warden at USP Lompoc)
15   to be evaluated for home confinement in accordance with the CARES Act and Attorney
16   General Barr’s April 3, 2020 order instructing that the bureau immediately begin
17   transferring vulnerable and elderly inmates (like Dr. Bernadett) to home confinement.
18   No response to that petition was ever provided.
19                       On July 16, 2020 (two days after the Court’s July 14, 2020 Order was
20   issued), Dr. Bernadett notified Respondents (through counsel) that he was a class
21   member and requested to be evaluated for home confinement. Dr. Bernadett’s
22   notification included his prior May 18, 2020 Petition to Respondent Milsunic, along
23   with medical information, his Presentence Investigation Report, and his plan for home
24   22 18 U.S.C. § 4, provides that, “Whoever, having knowledge of the actual commission of a felony cognizable by a court
     of the United States, conceals and does not as soon as possible make known the same to some judge or other person in civil
25   or military authority under the United States, shall be fined under this title or imprisoned not more than three years, or
     both.”
26   23   See Lugliani Decl.
27   24   See Declaration of Marc Stern, M.D., M.P.H., attached hereto as Exhibit D (“Stern Decl.”), ¶ 8.

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 1   confinement. Dr. Bernadett also offered to provide any additional information that
 2   Respondents may require. In addition, Respondents independently possess a
 3   comprehensive Pre-Sentence Investigation Report created by the United States
 4   Probation Office containing Dr. Bernadett’s underlying health conditions, medical
 5   information, home life details, recidivism factors, underlying crime details, age, work
 6   history, and much more. 25
 7                     Therefore, respondents have all the information they need to evaluate
 8   Dr. Bernadett (and other future Lompoc prisoners) for home confinement. However,
 9   despite possessing this information, Respondents unconvincingly argue that they are
10   incapable of evaluating future inmates (like Dr. Bernadett). Id. at p. 2. 26 This confirms
11   that Respondents simply have not even tried to comply with the full scope of the
12   July 14, 2020 Order.
13                     Respondents have made clear that they will not consider a request for
14   home confinement until after Dr. Bernadett reports to Lompoc. The BOP has
15   apparently taken the initiative by requiring that a prisoner serve at least 25% of their
16   sentence and thereafter a request for review would be put at the “back of the line.”
17   Unfortunately, without action by this Court Dr. Bernadett would have to be in prison a
18   minimum of three to four months, plus processing time, before being considered
19   regardless of how entitled he may be to immediate review and designation to home
20   confinement. Respondent’s position requires elderly and vulnerable class members to
21   be exposed to the facility, putting them and the facility at risk. Respondents’ order of
22   operations defies logic, as the best way to simultaneously prevent the spread of the
23   virus and to reduce the inmate population (as ordered by this Court) is to evaluate
24
     25 There no known requirement for an in-person face to face meeting or evaluation for someone to be evaluated for home
25
     confinement, and Dr. Bernadett is informed and believes that the evaluation is customarily performed through a review of
26   the inmate’s file.
     26See Doc. 56 (“The Warden at FCC Lompoc does not have any authority over, nor does she play any role in the home
27   confinement considerations or RIS processing of inmates not entrusted to her care.”)

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 1   inmates before they report. Respondent’s position contradicts the intent of Congress in
 2   passing the CARES Act, Attorney General Barr’s directive and this Court’s July 14,
 3   2020 Order. Evaluating Dr. Bernadett and other elderly and vulnerable future Lompoc
 4   inmates immediately, is not only the directive of this Court, but doing so is in the best
 5   interest of the inmate population, the staff at Lompoc, the local community surrounding
 6   Lompoc, and all vulnerable inmates.
 7
 8                                         IV. CONCLUSION
 9                     For these reasons, Dr. Bernadett respectfully requests that the Court permit
10   him to intervene as a plaintiff in this case, and that the Court order Respondents to
11   immediately evaluate Dr. Bernadett for home confinement pursuant to the Court’s
12   July 14, 2020 Order.
13
14   DATED: December 1, 2020
                                                       SAMUEL A. KEESAL, JR.
15                                                     STEFAN PEROVICH
16                                                     BRYCE CULLINANE
                                                       KEESAL, YOUNG & LOGAN
17                                                     Attorneys for Plaintiff Intervenor
                                                       FAUSTINO BERNADETT
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15
16                       UNITED STATES DISTRICT COURT

17         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

18
19   UNITED STATES OF AMERICA,               )   Case No. SACR 19-00121-JLS
                                             )
20                              Plaintiff,   )   DECLARATION OF ROBERT
                                             )   LUGLIANI, M.D.
21              vs.                          )
                                             )
22   FAUSTINO BERNADETT,                     )
23                             Defendant.    )
                                             )
24                                           )
                                             )
25                                           )
26
27
28   ///
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                  l, Robert Lugliani, M.D. declare as follows:
 2                1.    I am a board licensed physician in the state of Califo1nia and I
 3   earned my medical degree from Tufts University Schoo} of Medicine in Boston, Mass.
 4 I am an internal and general medicine doctor with specialized training in pulmonary
 5   medicine. I completed my internship, residency, and fellowship at Harbor-UCLA
 6   Medical Center. I have been practicing medicine in the Long Beach area for more than
 7   25 years. I cunently practice medicine with the American Pacific Medical Group.
 8                2.    I am Dr. Fuastino Bemadett's personal physician and I typically
 9   examine him and his health on an annual basis. I am qualified to testify regarding his
10   health and ailments.
11                3.    I recently examined him on July 1, 2020 and July 9, 2020. After
12   these examinations, I produced a report of my examination. A true and correct copy of
13   my report is attached hereto as Exhibit "A."
14                4.    I have personal knowledge of the facts set forth in Exhibit "A" and
15   herein, and if called upon as a witness, I could testify competently thereto.
16
17                I declare under penalty of petjury under the laws of the United States of
18   America that the foregoing is true and correct.
19
20                Executed on July 9, 2020, at                          , California.
21
22
                                                    ROBEGLIANI, M .D.
23
24

25
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AMERICAN PA( ; I Fl C
     MEDICAL GROUP
                                                                                                      Robert Lugliani. M.D.
                                                                                                      Respiratory Disease, Internal Medicine
                                                                                  President. ProHeaJlh Partners. Argus Medical Management




       Name: Faustino Bemadett
       DOB: 05/29/ 1954
       Age: 66
       Date of Report: July 09, 2020
       Date of Service: July 01, 2020. Follow-up: July 09, 2020


       History of present illness:

       This is a 66 year old male who is well known to this examiner, returns primarily for annual
       exam . Patient complains of wife's noticing that he coughs intennittently throughout the day and
       especially at night and early morning. He checks temperature daily because of COVID-19 and
       has not noted any increase. Cough is dry . more prominent with cold dry air exposure and
       productive in morning of clear sputum. Denies dyspnea, bemoptysis, night sweats, fever, chills
       or weight toss. History of asthma as child. History of anterior bulging disk C5/C6. History of
       dysphasia. Patient reports taste and smell are intact. No extreme fatigue noted recently. No
       known COVID-19 exposure. Wears mask when outside the home and maintains social distance.

       Continues to have pain in cervical spine, with weakness, tingling and numbness in bilatera1 upper
       extremities including hands and fingers. Also continues to have pain in low back. hip/buttock,
       and numbness in right big toe. Occasional radiation of pain bilaterally in lower extremities.

       Patient complains of right forefoot pain for several months status post trauma and persistent left
       ankle pain .

       Allergies:
       No Known AJlergies.

       DEPRESSION SCREENING:
       Not at all the patient reports little interest or pleasure in doing things.
       Not at all the patient reports feeling down. depressed or hopeless.

       Falls Prevention:
       Discussed Fall Prevention
       No falls or 1 fall without injwy in last year.
       Patient assessed for falls.

       REVIEW OF SYSTEMS
       HEENT: Denies pharyngitis, rhinitis or sinusitis. Dry eyes with history of eye surgeries for
       vision. Chronic keratoconjunctivitis, uses eyedrops several times per day.
       RESPIRATORY: AS PER HISTORY OF PRESENT ILLNESS


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 CARDIOVASCULAR: Denies any history of chest pains. patpitations, paroxysmal nocturnal
 dyspnea, dyspnea on exertion or orthopnea. Denies ankle edema. Denies increasing and
 progressive chest pressure or palpitations. Family history: Mother with congestive heart failure.
 s/p myocardial infarction, and stroke.
 GASTROINTESTINAL History of hemorrhoids managed with Preparation-H pads and cream
 as necessary. Denies anorexia, nausea, vomiting, hematemesis, melena or diarrhea.
 GENlTOURJNARY: Patient reports freque·ncy, urgency of urination. and nocturia. No dysuria.
 Brother with prostate cancer.
 NEUROLOGIC: Denies dizziness. lightheadedhess, syncope or seizures. De nies tremors.
 Occasional left eye pain/cephalgia managed \vith over-the-counter analgesics. Weakness as
 reported on previous orthopedic exam.
 MUSCULOSKELETAL: AS PER HISTORY OF PRESENT ILLNESS AND PREVIOUS
 ORTHOPEDIC EXAM.
 DERMATOLOGfC: Denies rashes. pruntic areas, easy bruisabil1ty or bleeding.
 PSYCHIATRIC: Denies severe anxiety or depression. Insom nia due to chroni c pain. Managed
 with medication along with sleep routine and lumbar and knee pillo~·s .

 VTT AL SIGNS:
 Recorded   By Lugli ani MD, Robert on 07/0 1/2020
 Weight 190
 Pulse Rate 75; Blood Pressure 171/108 Pain level: 5/10
 Pul se Oximetry. 97%

 Vital signs on 07/09/2020 at follow-up visit to review labs and x-rays:
 Subjecti ve: Started Ramipril. No worsening of cough or fever, no other COVID-19 symptoms.
 Temperature: 96.6; Pulse: 73: Blood Pressure: 154/89 Pain level : 5110
 Pulse Oximetry: 97o/o

 Pbysical Examination

 HEENT: The head Is normocephalic. The pupils a1·e equal, round, and react lo light and
 accommodation. Slight conjunctiva! inj ection noted both eyes. Resjdue of eyedrops noted at
 outer canthus. both eyes. Tympanic membranes are clear. Throat is free of any exudates or
 erythema.
 NECK: No cervical adenopathy appreciated, supple, no jugular venous di stension below at 35
 degrees. Thyroid is not palpable or enlarged. The carotid arteries upstrokes are normal. equal
 bilateral ly"
 CHEST: Normal AP diametet
 LUNGS: Lungs are clear.
 HEART: Regular sinus rhythm . No significant heaves, rubs. or gallops are appreciated.
 ABDOMEN: Soft. Good bowel sounds. li\er. kidneys, spleen are nonpalpable. No abdominal
 masses, abdominal bruits. or pulsatile masses noted.
 RECTAL/GEN ITA.LIA: Nor performed by this examiner
 EXTREMITIES: No clubbi ng cyanosis. or edema. Good peripheral pulses are appreciated
 throughout. Tenderness to palpation, left plantar forefoot in the area of the first and second
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 metatarsal phalangeal joint. Spine: Some limitation of twisting, stooping, lifting, flexing and
 extending. Detailed exam deferred to ortho.
 L YMPHATJC: No significant lymphadenopathy appreciated and auxiliary, inguinal,
 supraclavicular posterior and anterior cervical areas.
 NEUROLOGIC: Cranial nerves are grossly intact. Asymmetric grip strength noted with right
 grip less than left, though right dominant. Numbness of right great toe noted. Detailed exam
 deferred to ortho.
 BACK: Detailed exam deferred to ortho.
 SKIN: No rashes or bruising noted at this time. Lumbar healed surgical scar noted.


  Additional repons reviewed·
  Orthopedic report by Dr Harry Marinow, July 29, 2019.

 Summary and discussion:

 Chronic cervical neck pain:
    1. Multiple levels of severe foraminal stenosis with 8 degrees of kyphosis at C4-C5
    2. Anterior disc bulging of 7mm C4-C5 associated with occasional dysphasia

 Chroni c upper back pain with radicular symptoms (numbness. tingling and weakness) in arms,
 legs and toe numbness
     l. Compression fracture of thoraci c vertebrae T- 12

 Chronic low back pain and limitation of flexion, extension. stooping, twisting and lift ing due to·
    I Lumbar spondyi osls
    2. Fusion of lumbar spine levels L4-L5. L5-S 1
    3. Bi lateral L3-L4, L4-L5 severe facet arthropathy
    4 . Listhesis with hypertrophic changes and neuroforaminal narrowing at L5-S I

 Chronic intermittent hip pain:
    I. Right hip degenerative osteoarthritis
    2. Post-traumatic retrosacral fluid collection between gluteus maximus and subcutaneous fat
        requiring pad when seated

 Chronic pain in left knee, ankl e and foot:
    l . History of left knee torn medial collateral ligament, requiring knee support
    2. Laxity of [eft anterior cruciate ligament. requiring knee support

 Assessment/Problem List

     L Hypertension
     2. Hypercholesterolemia
     3. Hypertriglyceridemia
     4. Chronic intem1ittent cough with history of asthma and bul!,ring cervical disc.
     5. Significant family history of heart failure and stroke
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     6. Overweight BMI 27
     7. Elevated Prostate Specific Antigen (PSA) with prostatic hypertrophy with significant
         family hi story of prostate cancer
     8. Chronic pain. numbness. tingling, and decreased strength due to traumatic
         musculoskeletal injuries, including but not limited to bulging discs in the spine at
         numerous levels. bac-k surgery and compression fracture of spine, as well as severe
         narrov.ing of spinaJ cord opening at several places in the spinal column.
     9. Left forefoot traumatic arthritis
     10. Left ankle pain due to knee and foot injuries leading to irregular gait. requiting ankle
         support
     11 Chronic pain in hip. knee, ankle and foot due to sequelae of traumatic injuries
     12. Tension headache
     13. Chronic keratoconjunctivitis of both eyes due to history of eye surgeries requiring
         frequent eye drops lhroughout the day
     14. Hemorrhoids
     15. Insomnia due to chronic pain


  Discussion and Plan

 Hypertension. hypercholesterolemia. hyperrriglyceridemia. overweight BMI and a family history
 of heart attack, .stroke and congestive heart failure indicate early heart disease and high risk for
 heart anack and stroke. While there is no current indi cation of acute disease. patient should alter
 lifestyle and take prescribed medications to lower blood pressure and cholesterol to slow the
 progression_ Diet modification (low fat, low salt, low calorie) to lose weighi and daily exercise
 60 minutes per day along with Ramlpril 2.5mg once daily and Atorvastatin IOmg daily.

  The patient's cough indicates reactive airways with which may be due to chronic microaspi ration
  due to the bulging cervical spine disc or longstanding subclinical asthma that has worsened with
  the added insult of microaspirarion. Will follow closely and conduct a foll workup if worsens.

 Prostatic hypertrophy v.ith elevated PSA and significant family history of prostate cancer
 (bro-cher). Sympwms managed medically. Continue tadalafil 5mg once daily. At elevated risk
 of prostate cancer due to continued elevated PSA. hypertrophic prostate and brother treated for
 aggressive prostate cancer recently . Repeat PSA in 4-6 months and consider referral to Urologist
 at that time.

 The patient experiences chronic pain from his neck to his lower back due to traumalic
 musculoskeletal injuries, fractures and spine surgery, as well as foraminal narrowing and bulging
 discs. He has limitations in twisting, stooping, flexing and extending and should not lift heavy
 items. left forefoot traumatic arthritis - orthotlc support should be continued. Left ankle pain
 should be managed with support worn during the dayti me and at night as necessary. Knee
 support should be worn during the day and ar night as needed ro aid in pain relief. The patient
 has been managed well on current medical regimen and orthotic supports. Continue ibuprofen
 600-800mg every 6-8 hours as needed for pain, along with acetaminophen IOOOmg every 12
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  hours as needed for pain and orthotic supports. Repeat 'N.IRJ should be ordered after COVID-19
  is better controlled.

  Tension headaches should continue to be managed with over-the-counter analgesics.

  Chronic keratocor~j unctiv i ti s followed by optometrist annually and eyedrops used severaJ times
  per day as needed to maintai n moisture. Patient advised that with increased mask wearing eyes
  will be prone to dry out more. so increased use of eye drops will be necessary and chalazion
  prevention by cleaning eyes nightly with warm washcloth and baby shampoo is recommended.

  Hemorrhoids should conti nue to be managed with Preparation-H pads and creams . Afl:er
  COVID-1 9 subsides. will refer for evaluation by gastroenterologist to evaluate and schedule
  screening colonoscopy.

  Patient's insomnia is due to chronic pain. Insomnia. in tum, worsens chronic pain. so sleep is
  very important. Patient should continue to use eszopiclone 2mg nightly as needed and zolpidem
  tartrate 3.5mg SL nightly as needed along with lumbar and knee pillows and sleep regimen.
  trying to get to sleep and awaken at same times each night and day

  COVID-19 is currently in pandemic with a resurgence of cases in Los Angeles County and many
  other places around the state. Patient is advised of his high risk status due to age. hypertension.
  heart disease risk, weight pulmonary risk and potentially immunocornpromised position due to
  his elevated prostate specific antigen, which may indicate early prostate cancer, especially due to
  his youngest brother just completing treatment for an aggressive forfn of same. Patienr advised
  to stay home as much as possible. but when out of the house. avoid gatherings of more than l 0
  people, maintain six feet from others and wear an N-95 mask when in public or wichin 6 feet of
  others. Maintain diligent hand hygiene with soap and water and hand sanitizer and avoid
  touching face and eyes.




  Robert Lugliani. M .D
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    Attorneys for Defendant
    FAUSTINO BERNADETT

                             UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION


    UNITED STATES OF AlvfERICA,                ) Case No. SACR 19-00121-JLS
                                               )
                                  Plaintiff,   )   DECLARATION OF MICHELE DEL
                                               )   VICARIO, M.D.
                       vs.                     )
                                               )
    FAUSTINO BERNADETT,                        )
                                               )
                                Defendant.
                                               )
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                      I, Michele Del Vicario, M.D., declare as follows:
                      I am a board licensed medical doctor in the state of California and the
    former head of the Cardiovascular Department at Providence Little Company of Mary
    Medical Center in Torrance, California. I also am the former Chief of Staff of Little
    Company of Mary Hospital. I have personal knowledge of the facts set forth below,
    and if called upon as a witness, I could testify competently thereto.
                      1.    On August 25, 2020, I personally evaluated the health of Dr.
    Faustino Bemadett, during an in-person consultation.
                      2.    I am qualified to testify regarding Faustino Bernadett's health and
    ailments.
                      3.    Attached hereto is a true and correct copy of my "Evaluation
    Progress Notes of Faustino Bemadett" which I prepared on August 25, 2020 regarding
    my evaluation of Faustino Bemadett.


                      I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct.


                      Executed on September 15, 2020 at Torrance, California.




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                                                       ELViCARfo,
                                                                  ILP       M.D~'
                                                      BOARD CERTIFIED IN
                                                      INTERVENTIONAL CARDIOLOGY,
                                                      INTERNAL lvIBDICINE, AND
                                                      CARDIOVASCULAR DISEASE;
                                                      SPECIALIZING IN THE PRACTICE OF
                                                      CARDIOLOGY




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                                                                                                                                                 MRN: 20014183019
   Bernadett, Faustino
   Office Visit 8/25/2020                              Provid er: Michele Del Vicario, MD (Card iology)
   PMI - SB Heart and Vascular                         Primary diagnosis: Chest pain, unspecified type
                                                       Reason for Visit: Hypertension


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       PMI - SB Heart and Vascular
       3475 TORRANCE BLVD STE A
       TORRANCE CA 90503-5800
       Phone: 310-370-3568
       Fax: 310-540-0676

                                                                             Progress Notes
       Date: 8/25/2020

       Patient Information
       Patient Name: Faustino Bernadett
       Date of Birth: 5/29/1954         Age: 66 y.o.
       Medical Record#: 200141 83019

       Reason for visit:
       Chief Complaint
       Patient presents with
         • Hypertension
                  New patient evaluation

       HPI: Patient seen here for general cardiovascular consult today.
       The patient has longstanding history of hypertension, hypercholesterolemia and
       hypertriglyceridemia none of which apparently have been under reasonable control.

       Additionally he has some dyspnea on exertion and a chronic intermittent cough which is
       attributed to his childhood asthma. Probably has an element of lung disease for
       which he is under the care of his primary physician who is also a pulmonary specialist.

       In addition he has cervical spine degenerative disc disease as well as lumbosacral spine
       disease and this produces abundance of discomfort which has aggravated his overall
       health status and wellbeing.

       He does have a weight issue that is he is overweight.

       Of note is that when the patient does exert himself particularly if he goes up a slight
       incline there is increased shortness of breath and associated with this is also mild left
       anterior chest discomfort or pressure-like feeling.

       No radiation of the discomfort.

       None of these episodes have lasted more than 10 minutes, rest alleviates both the
       shortness of breath and chest tightness.




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     Of note is that the patient has been under a great deal of stress due to work situation
     over the last 4 to 5 years and this has particularly been severe yet over the last year.

     There has been no lightheadedness palpitations or syncope.
     PMI - SB Heart and Vascular
     3475 TORRANCE BLVD STE A
     TORRANCE CA 90503-5800
     Phone: 310-370-3568
     Fax: 310-540-0676


     Problem List:
     Patient Active Problem List
     Diagnosis
      •   Essential hypertension
      •   Hypertriglyceridemia
      •   Hypercholesterolemia
      •   Mild intermittent asthma without complication
      •   Lumbar disc disease
      •   Cervical disc disease

     Medications:
     Current Outpatient Medications
     Medication   ..                       Sig          . .. . . .. .   . .. Dispense .· ..   Refill
      • atorvaSTATin (LIPITOR) 10 mg       Take 10 mg by mouth.
        tablet
      • Coenzyme 010 (CO Q 10 PO}        Take by mouth.
      • eszopiclone (LU NESTA) 2 MG      TAKE 1 TABLET BY
        TABS                             MOUTH AT BEDTIME
                                         AS NEEDED
      • ramipril (ALTACE) 2.5 mg capsule Take 2.5 mg by mouth
                                         Daily.
      • tadalafil (CIALIS) 5 MG tablet   Take 5 mg by mouth
                                         Daily.
      • Zolpidem Tartrate 3.5 MG SUBL    1 TABLET
                                         SUBLINGUALLY AT
                                         BEDTIME

     No current facility-administered medications for this visit.

     Family and Social History:
     Family History
     Problem                                     Relation                             Age of Onset ... · ·
      •   Stroke                                 Mother
      •   Heart attack                           Mother
      •   Cardiomyopathy                         Mother
      •   Heart failure                          Mother
      •   Other (see comment)                    Father
            AIRPLANE ACCIDENT
      • Prostate cancer                          Brother
      • Breast cancer                            Sister
      • Other (see comment)                      Daughter
            ELEVA TED LIVER ENZYMES
     Social History



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      Socioeconomic History                                                                               . .·               ··:· .. ·· :· . : ..·
       • Marital status:                   Married
            Spouse name:                   Not on file
       • Number of children:               Not on file
       • Years of education:               Not on file
       • Highest education level:          Not on file
     Tobacco Use
       • Smoking status:                   Never Smoker
       • Smokeless tobacco:                Never Used
     Substance and Sexual Activity                                                    ·.· . . :.:     :   ·. : · ... / :              ·.·.· · :·
       • Alcohol use:                      Yes
            Comment: SOCIAL


     Allergies:
     No Known Allergies

     Review of Systems:
     All systems were reviewed, and negative apart from the history of present illness and also his
     multiple discomfort related to radiculopathy

     Physical Findings: (Explain Abnormal)                repeat blood pressure 174/102

     Vitals witli Orthostatic BP with comments               8/2512020                · : ·.· : ··.

     SYSTOLIC                                                194
     DIASTOLIC                                               113
     Pulse                                                   86
     Temp                                                    97.8
     Weight                                                  1991bs
     Height                                                  5' 11"
     SP02                                                    93
     BMI                                                     27.8 kg/m2
     Pain Score                                              0

     General appearance: alert and oriented x3, appears stated age and cooperative
     Neck: no adenopathy, no carotid bruit, no JVD and thyroid not enlarged, symmetric, no
     tenderness/mass/nodules
     Lungs: clear to auscultation bilaterally
     Heart: regular rate and rhythm , S1, S2 normal, S4
     Abdomen: soft, non-tender; bowel sounds normal; no masses, no organomegaly
     Extremities: extremities normal, atraumatic, no cyanosis or edema
     Pulses: 2+ and symmetric
     Skin: Skin color, texture, turgor normal. No rashes or lesions
     Neurological examination: Grossly intact
     Data Reviewed: Some outside records brought in by the patient
     (see tracing and/or report for full interpretation)

     Assessment and Plan:
     1. Chest pain, unspecified type
     We will need to exclude underlying coronary disease particularly in view of his family history of
     relatively premature coronary disease and myocardial infarctions, specifically his mother has




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     had 3 myocardial infarctions and has had congestive heart failure as well as a cerebrovascular
     vascular accident.
     His grandfather died at the age of 60 with a myocardial infarction.
     - ECHO Stress w Cont ECG Monitoring; Future

     2. Essential hypertension
     Not well controlled , patient been admonished about low-salt diet use and to increase activity
     level and reduce his weight.
      ramipril will be doubled to 5 mg daily he is to monitor his blood pressure on a twice daily basis
     and to call within a week. The goal of his systolic blood pressure is to be less than 130 mmHg.
     Obviously if his stress level could be reduced this would also contribute to better control of his
     hypertension.

     I do not feel at this point in time there are any further investigation for other causes of this
     hypertension are indicated.
     3. Hypertriglyceridemia
     Not well controlled

     4. Hypercholesterolemia
     Not well controlled will increase his Lipitor to 20 mg daily
     And again has been counseled about weight reduction and dietary restrictions as far as low-
     cholesterol diet. The aim will be to bring the cholesterol well under 200 mg/dl

     As well as LDL cholesterol which is now 138 certainly below 100 mg/dl

     As well as to decrease the triglycerides slightly from 155 mg/dl

     Should have repeat lipid panel within the next 4 to 6 weeks and subsequent adjustment should
     be made.
     5. Mild intermittent asthma without complication
     This will be further addressed by his pulmonologist.

     6. Lumbar disc disease
     Under the care of orthopedics.

     7. Cervical disc disease
     Under the care of orthopedics.

     Further consideration on Dr. Bernadett:

     It is my understanding that the patient in the future may be incarcerated.

     It is my strong recommendation that the patient should not be put in harm's way, that he is in
     an environment where COVID-19 may be prevalent and would expose him to significant health
     risk with the possibility of even death if he should contract the viral infection.

     Specifically he has multiple risk factors that would make him substantially more vulnerable
     than the general population ; these include age, hypertension which presently is inadequately
     controlled , asthma and potentially underlyi ng significant pulmonary dysfunction as to be
     determined by his pulmonologist.
     Additionally he is somewhat overweight adding an extra risk factor.

     All of this is in addition to the possibility that the patient has underlying coronary artery disease
     which will be assessed in the near future with a stress echo.



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      Return Appointment: No follow-ups on file.

      Electronically signed by : Michele Del Vicario, MD, 8/25/2020 1:1 5 PM PDT

      Patient Name: Faustino Bemadett/DOB: 512911954/Medical Record#: 20014183019

     "We retain the right to modify this information in the event of errors without notice. This report was
     generated by a voice dictation system. Errors in punctuation, grammar and content occur. The
     patient has been advised to follow up with appointments. Patient has been informed that non-
     compliance with this recommendation could result in serious consequences because of delays of
     diagnosis and treatment. It also has been disclosed to the patient that we expect patients to take an
     active role in their healthcare."

  Instructions
     After Visit Summary (Printed 8/26/2020}


  Additional Documentation
     Vit als:           BP 194/113   ! (Abnormal) Pulse 86 Temp 36.6 °c (97.8 " F) (Infrared Device)
                                                                                           2           2
                        Ht 1.803 m (5' 11")Wt 90.3 kg (199 lb) Sp02 93% BMI 27.75 kg/m BSA 2. 13 m
                        Pain Sc 0 - No pain      M o re Vitals
     Flowsheets:        Epidemic Risk, Vitals, Anth ropomet rics, Epidemic Risk Screen, ED qSOFA Calculation
     Encount er !nfo:   Billing Info, History, Alle rgies, Det ailed Report


   D Encounter-Level Documents:
     There are no encounter-level docu ment s.

   D Order-level Documents:
    There are no o rder-level d ocuments.

  Encounter Status
     Closed by Michele Del Vicario, MD o n 8/26/20 at 13:25



  Orders Placed
     ECHO Stress w Cont ECG Monitoring (Resulted 9/3/ 2020)

  Medication Changes
  As o f 8/25/2020 12 31 PM
     None


  yi~i~ £:>.iC1 9 ~()~~~..
     Chest pain, unsp ecified type R07.9
     Essential hypertension 110
     Hypertriglycerid e mia E78.1
     Hypercholest erolemia E78.00
     Mild int ermittent ast hma without com plication J45.20
     Lumbar disc disease M S 1.9
     Cervical d isc disease M S0.90




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                                                     Curriculum Vitae

                                                Michele Del Vicario, M.D.


Demographic
Place of Birth   Panni, Italy
Citizenship      CanaCla and United States of America
Contact Info     3475 Torrance Blvd., Suite A
                 Torrance, CA 90503
                 (310) 370-3568- Phone
                 (310) 540-0676-Fax

Education
1967             University of British Columbia, Vancouver, Canada, 8 .S.
1970             University of British Columbia, Vancouver, Canada, M .0.

Postgraduate Training
1970-1971        Internship: Memorial Hospital, Long Beach, California- Rotation 0
1971-1974        Internal Medicine Residency; University of California, Irvine, Long Beach Veterans Administration
                 Hospital, Long Beach, California
1974-1976        cardiology Fellowship: University of California, Irvine, Long Beach Veterans
                 Administration Hospital, Long Beach, California

licensure/Certitication
1970            LMCC (Canada)
1971             California FLEX
1971             Medical licensure, State of California (#A24434 - Active)
1974             American Board of Internal Medicine
1974             Canadian Soard of Internal Medicine (Written)
                 Fellowship of Royal College of Physicians (C)
1975             Canadian Board of Internal Medicine (Orals)
                 Fellowship of Royal College of Physicians (C)
1977             American Board of Internal Medicine Cardiovascular Disease (Diplomate)
1979             Fellowship of American College of Cardiology
1999             Fellowship of American College of lnterventional Cardiology (Diplomate)
2009             American Soard of Internal Medicine lnterventional Cardiology (Oiplomate)

Professional Societies and Memberships
American College of Physicians
california Medical Assodation
Los Angeles County Medical Association
American Echocardiology Society
Los Angeles American Heart Association




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 Staff Positions
 2014-2015       President, Professional Staff, Providence Little Company of Mary Medical Center
                 Torrance, California
                 Board of Directors, Little Company of Mary Hospital, Torrance, talifornia
                 Medical Director, Heart Cath Lab, Little Company of Mary Hospital, Torrance, CA
                 Chairrnan, Cardiology Subcommittee, Little Company of Mary Hospital, Torrance, CA
                 Chairman, EndovascularTaskforce, Torrance Memorial Medical Center, Torrance, CA

Research          Participation Investigator:
                  TIMI 16
                  Second Sympliony
                  CHARISMA
                 PROVE IT
                  ARISE
                 T1MI 36 MERLIN
                 TENACITY
                 OCTAVE
                 OVERTURE

Bibliographies of Publications
Ferlinz, J., Del Vicario, M., Herman, M.V., Gorlin, R. Incidence of right ventricular asynergy in patients with coronary
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Meeting in Las Vegas, March 1977. (Abstract)

Or1ando, J., Del Vicrio, M ., Cassidy, J., Aronow, W.S. Correlation of mean polmonary artery wedge pressure, left atrial
dimension, and PTF-V in patients with acute myocardial infarction. Circulation May 1977.
Ferlinz., J., Del Vicario, M ., Aronow, W.S. Effects of rapid digitalization on total and regional myocardial performed in
patient with coronary artery disease. The American Heart Journal 1978; 96.

Grollman, J., Del Vicario, M., Mittal, A.K. Percutaneous transluminal abdominal aortic angioplasty. American Journal of
Radiology May 1980; 134:1053-1054.

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     FAUSTINO BERNADETT

                          UNITED STA TES DISTRICT COURT
           CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION


     UNITED STATES OF AMERICA,                    Case No. SACR 19-00121-JLS

                                 Plaintiff,       DECLARATION OF CHRISTOPHER
                                                  TRAUGHBER, M.D.
                 v-s. -

     FAUSTINO BERNADETT,

                               Defendant.
                                              )
                                              )
                                              )
     __________ ____)

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                  I, Christopher Traughber, M.D., declare as follows:
                  I am a board licensed medical doctor in the state of California and
     cmTently in charge of the Urgent Care Unit at the Palos Verdes Family and Immediate
     Medical Care Center. I have personal knowledge of the facts set forth below, and if
     called upon as a witness, I could testify competently thereto.
                  I.    On or about August 25, 2020, I personally evaluated the health of
     Dr. Faustino Bemadett, during an in-person consultation.
                  2.    I am qualified to testify regarding Faustino Bemadett's health and
     ailments.
                  3.    Attached hereto is a true and correct copy of my letter regarding my
     evaluation of the health and ailments of Faustino Bemadett, which I prepared on
     August 27, 2020.


                  I declare under penalty of pe1jury under the laws of the United States of
     America that the foregoing is true and correct.


                  Executed on September 15, 2020 at Palos Verdes, California.




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          PV FAMILY AND
          IMMEDIATE MEDICAL
          CARE CENTER




  08/27/2020



  Re: Faustino, Bernadett
  DOB: 05/29/1954



    To Whom It May Concern:

    I am writing this letter on behalf of my patient Faustino, Bernadett DOB:
  05/29/1954 in effort to avoid any unnecessary exposure to the Covid-19 virus
  during his upcoming incarceration, due to his risk factors that increase his risk of
  harmful Covid-19 infection

     1.   Age> 65 years old
     2.   Overweight (BMI 27)
     3.   Hypertension, under treatment
     4.   Hyperlipidemia, under treatment
     5.   History of respiratory disease with chronic cough and asthma
     6.   Elevated PSA with prostatic hypertrophy and significant family history of
          aggressive prostate cancer in brother



          These risk factors increase his risk of poor outcome including death, to
          Covid-19 infection.



          Please consider a home sentencing option for the elderly man.



          Sincerely,

          C!i111!fr.- ;!/!)
          Christopher Traughber, M.D.




                       26516 Crenshaw Boulevard • Palos Verdes Peninsula, CA 90274
                                   Tel 310.541.7911 •Fax 310.541.2953
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   12 FAUSTINO BERNADETT
   13
                                UNITED STATES DISTRICT COURT
   14
                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   15
   16
          ,                                        CASE NO. SACR 19-00121-JLS
   17
        UNITED STATES OF AMERICA,                  DECLARATION OF MARC F.
   18                                              STERN, M.D., M.P.H.
                                    Plaintiff,
   19
                          vs.
   20
   21 FAUSTINO BERNADETT,
   22                  Defendant.
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    1                           DECLARATION OF MARC STERN, M.D.
    2               I, Marc Stern, declare as follows:
    3               1.    I am a physician, board-certified in internal medicine, specializing in
    4 correctional health care. I most recently served as the Assistant Secretary for Health
    5 Care at the Washington State Department of Corrections. I served for four years as a
    6 medical subject matter expert for the Officer of Civil Rights and Civil Liberties,
    7 U.S. Department of Homeland Security, and as a medical subject matter expert for
    8 one year for the California Attorney General’s division responsible for monitoring
    9 the conditions of confinement in Immigration and Customs Enforcement (ICE)
   10 detention facilities. I am a court-appointed medical expert in the class action
   11 Parsons v. Ryan, CV-12-00601-PHX-ROS. Currently, I am the Medical Advisor for
   12 the National Sheriffs’ Association on matters related to preventive measures
   13 responding to COVID-19. Additionally, in 2009, at the request of the California
   14 Receiver Clark Kelso, I toured 10 California state prisons to assess whether or not
   15 the Receiver’s assignment—to restore the delivery of health services within the
   16 California state prisons to constitutionally adequate levels – had been completed.
   17 Attached as Exhibit A is a copy of my curriculum vitae.
   18               2.    COVID-19 is a serious disease that has reached pandemic status, and is
   19 straining the health care systems around the world. As of July 7, 2020, at least 2.9
   20 million people in the United States had received confirmed diagnoses of COVID 19.
   21 At least 130,000 people have died in the United States. Approximately 271,000 of
   22 the confirmed cases were in California, with more than 6,300 having died.
   23 California is now seeing a dramatic spike in COVID cases. These numbers will
   24 continue to increase, perhaps exponentially. Moreover, these figures must be
   25 considered in light of nationwide shortages of COVID-19 tests, meaning the actual
   26 numbers are likely significantly higher than those reported.
   27               3.    The Lompoc complex (“Lompoc”) is comprised of Federal
   28 Correctional Institution Lompoc (“FCI Lompoc”) and United States Penitentiary
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    1 Lompoc (“USP Lompoc”). USP Lompoc itself has two components, a low-security
    2 camp and a medium-security prison. In total, the three Lompoc facilities have a
    3 rated design capacity of 2058. However, as of July 7, 2020 they had a total
    4 population of 2,473, thus exceeding capacity. As of July 7, 2020 there are a total of
    5 172 people at USP Lompoc who are currently or were positive for COVID-19,
    6 including 8 residents currently deemed positive, two resident deaths, and 162
    7 residents reported as being “recovered” after previously testing positive. The BOP
    8 website does not show what criteria it is using to consider someone “recovered.”
    9               4.    COVID-19 is a novel respiratory virus. It is spread primarily through
   10 droplets generated when an infected person coughs or sneezes, or through droplets
   11 of saliva or discharge from the nose. There is no vaccine for COVID-19, and there is
   12 no cure for COVID-19. No one has prior immunity. The only way to control the
   13 virus is to use preventive strategies, including social distancing.
   14               5.    The time course of the disease can be very rapid. Individuals can show
   15 the first symptoms of infection in as few as two days after exposure and their
   16 condition can seriously deteriorate in as few as five days (perhaps sooner) after that.
   17 It is believed that people can transmit the virus without being symptomatic and,
   18 indeed, that a significant amount of transmission may be from people who are
   19 infected but asymptomatic or pre-symptomatic.
   20               6.    Treatment for serious cases of COVID-19 requires immediate and
   21 substantial medical intervention.
   22               7.    The effects of COVID-19 are especially serious for people who are
   23 most vulnerable. Vulnerable people include people over the age of 50, and those of
   24 any age with underlying health problems such as—but not limited to—weakened
   25 immune systems (which can be caused by a variety of conditions, including but not
   26 limited to cancer treatment, hypertension, smoking, and immune weakening
   27 medications), moderate to severe asthma, diabetes, serious heart and lung disease,
   28 severe obesity, liver disease, and possibly pregnancy. While the CDC typically
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    1 classifies only people 65 and older as vulnerable, incarcerated individuals tend to be
    2 in poorer health than those in the general population, justifying the use of an earlier
    3 cutoff in classifying people deemed vulnerable to COVID-19.
    4               8.    The full extent of long-term sequela from COVID-19 infection is
    5 unknown at this time. It is possible that it may result in permanent damage to lung,
    6 heart, brain, and other tissues.
    7               9.    In light of the above, an outbreak of COVID-19 could put significant
    8 pressure on or exceed the capacity of local health infrastructure. In the absence of a
    9 vaccine and a cure, a significant number of people who are infected with the virus
   10 will die. Buttressing these concerns, it is not yet clear whether people who have
   11 already been infected with COVID-19 gain immunity against future infection. To
   12 the extent that the health care infrastructure is overloaded, people will die
   13 unnecessarily because necessary respirators and hospital facilities are unavailable.
   14               10.   Public health authorities recommend a number of preventive steps to
   15 help prevent or decrease the spread of COVID-19, with perhaps the most important
   16 measure being social distancing.
   17               11.   Prisons are congregate environments, i.e., places where people live and
   18 sleep in close proximity. Many people live in dormitory-style units with multiple
   19 rows of bunk beds close together or in small multi-person cells that often surround
   20 common areas where incarcerated people crowd together during the day. Social
   21 distancing in ways that are recommended by public health officials can be difficult,
   22 if not impossible, in prisons, even when the population is under design capacity.
   23 When prisons are at or above capacity, it becomes even more difficult to implement
   24 appropriate social distancing measures.
   25               12.   Infectious diseases that are transmitted via the air or touch (like
   26 COVID-19) are more likely to spread, placing people at risk. For these reasons, if—
   27 but more likely when—COVID-19 is introduced into a prison, the risks of spread is
   28 greatly, if not exponentially, increased as already evidenced by spread of COVID-19
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    1 in two other congregate environments: nursing homes and cruise ships.
    2               13.   But prisons actually have an attribute that makes them more dangerous
    3 than cruise ships. Unlike cruise ships, prisons are not closed systems. Staff, new
    4 detainees, attorneys, and inanimate objects—all potential vectors for virus—are
    5 introduced into the system every day. Thus, even if the government makes best
    6 efforts to follow preventive guidelines, the introduction of virus into a detention
    7 center is almost inevitable. Moreover, because staff and some visitors travel each
    8 day from the facilities back to their homes, when infection develops in the facility,
    9 there is also significant risk that the infection will be transmitted outside the facility,
   10 to the family and friends of staff and visitors. In short, the risks that confront
   11 individuals at detention facilities such as Lompoc stem from their very nature as
   12 congregate environments. Even if the healthcare provided were excellent, there
   13 would still be substantial risk; if the healthcare provided were substandard, those
   14 substantial risks are only elevated.
   15               14.   Faustino Bernadett is a 66 year old man set to be incarcerated at the
   16 camp at Lompoc on August 18, 2020. My review of a declaration from his treating
   17 physician shows that Dr. Bernadett suffers from hypertension and a chronic
   18 intermittent cough. His age and history of hypertension are two factors that increase
   19 the likelihood of his suffering severe effects, including death, if he contracts
   20 COVID-19. As such, he is much safer at home, than in a prison environment.
   21 Subjecting Dr. Bernadett to a prison environment greatly increases the likelihood
   22 that he will contract COVID-19 and suffer serious consequences.
   23               15.   The effects of COVID-19 are very serious, especially for people who
   24 are most vulnerable. As demonstrated in the first table below, the risk of severe
   25 complications (requiring hospitalization) rises dramatically between the 18 to 49-
   26 year-old age group and the 50 to 64-year-old age group. As demonstrated in the
   27 second table below, the number of deaths rises dramatically between the 25 to 34-
   28 year-old age group to the 35 to 44-year-old age group and again to the 45 to 54-
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    1 year-old age group.
    2
         Rates of Laboratory-Confirmed COVID-19-Associated Hospitalizations
    3    (per 100,000 population as of week ending June 13, 2020, source CDC:
    4          www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html
    5               Age Group
    6               0-4 years            7.4
                    5-17 years           3.5
    7               18-49 years         56.5
    8               50-64 years        143.0
                    +65 years          286.9
    9
   10    Number of Deaths from COVID-19, by Age
         (as of June 17, 2020, source CDC: https://data.cdc.gov/NCHS/Provisional-
   11          COVID-19-Death-Counts-by-Sex-Age-and-S/9bhg-hcku)
   12
                    Age Group
   13               Under 1 year            8
                    1–4 years               5
   14
                    5–14 years             13
   15               15–24 years           125
                    25–34 years           699
   16
                    35–44 years         1,780
   17               45–54 years         4,976
                    55–64 years        12,307
   18               65–74 years        21,462
   19               75–84 years        27,529
                    +85 years          34,435
   20
   21               16.   The aforementioned elevated risk poses a risk not only to the health of
   22 the individuals who contract COVID-19, but to the community at large. It does so,
   23 in at least one way related to patients such as Dr. Bernadett, because when such
   24 individuals do become infected, they are more likely to utilize scarce community
   25 resources, such as emergency departments, hospital beds, and ventilators.
   26               17.   Decisions regarding incarceration and release from incarceration
   27 normally take into account their impact on public safety. In the face of the COVID-
   28 19 epidemic, the calculus of public safety must now also take into account the
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    1 impact on public health. The release of CDC-defined at-risk prison residents not
    2 only reduces the risk of death to the resident, but also increases public safety via the
    3 public health mechanisms described above. For this reason, decisions regarding
    4 release of a COVID-19 at-risk patient should factor in this risk in assessing the
    5 totality of public safety risk.
    6               18.      I have been made aware of the following allegations, as contained in a
    7 recently-filed class action lawsuit and declarations filed therein, against the BOP
    8 facility at Lompoc. 1 Relying on those representations and assuming them to be
    9 confirmed true, the conditions at Lompoc are deeply concerning:
   10                At the low-security camp at USP Lompoc, people live in open-plan
   11                     dormitories with shared bathrooms. More than 100 inmates live in these
   12                     dormitories and sleep on bunk beds with no more than two to three feet
   13                     between the bunks. There are no internal walls so everyone and all the
   14                     bunk beds are in one open space. All of these inmates share six toilets and
   15                     six showers. Dormitories are crowded and people congregate in common
   16                     areas. Residents also have to stand in line to get medication, and there is
   17                     not enough space for social distancing.
   18                Initially, the practice appears to have been to transfer sick people to the
   19                     solitary confinement unit. Some residents who had tested positive were left
   20                     there for up to four days with no medical attention. Eventually, prison
   21                     authorities re-opened two dormitories which had been closed three years
   22                     ago due to mold contamination in order to house sick people. The re-
   23                     opened dormitories are extremely unsanitary, and residents sleep on
   24                     mattresses officers have scattered across the ground. Residents here spend
   25                     up to five days at a time with no treatment for COVID-19. There is no
   26                     soap, and people are not being allowed to shower.
   27
        1
   28       Torres et. al. v. MILUSNIC et. al. (Case No. 2:20-cv-04450) (CD CA).
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    1                Residents were only give one mask in April, and have been reusing that
    2                     mask since. Hand sanitizer is non-existent and soap is not plentiful.
    3                It does not appear that anyone who tests positive and then “recovers” is
    4                     tested again before being returned to the general population.
    5                Residents are being denied regular medical treatment they had received
    6                     prior to the outbreak. For example, medically necessary procedures
    7                     scheduled prior to the outbreak have been delayed indefinitely.
    8               19.      These conditions, if true—a track record of not being able to prevent
    9 predictable and widespread infection, continued widespread infection, unsanitary
   10 living conditions, inadequate testing, not providing enough masks, and most
   11 importantly overcrowding—make it exceedingly difficult, if not impossible, to
   12 ensure the safety of residents who remain housed at the facility. In particular, these
   13 conditions mean that social distancing is very difficult, if not impossible, to
   14 effectively implement.
   15               20.      For the above reasons, I recommend consideration of a concerted effort
   16 to downsize the population of Lompoc to the lowest number possible immediately,
   17 with priority given to those at high risk of harm due to their age and health status.
   18 This will both allow Lompoc to implement more effective preventive and treatment
   19 measures while simultaneously granting released or transferred residents access to
   20 minimally acceptable living conditions. To maximize their effectiveness in reducing
   21 the spread and impact of the virus at Lompoc, these downsizing measures must be
   22 implemented now.
   23               21.      There are two values to immediate downsizing. First, downsizing will
   24 reduce Lompoc’s density of congregation. This will allow people in prison to
   25 maintain better social distancing. The reduction in population will also make it
   26 easier for prison authorities to implement infection prevention measures such as:
   27 provision of cleaning supplies to residents; frequent laundering of towels and
   28 clothes; provision of soap for handwashing; frequent cleaning of transactional
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    1 surfaces; etc. Furthermore, downsizing will allow prison health care professionals to
    2 devote their attention to a smaller number of residents, potentially improving the
    3 quality of care those residents receive. At any prison it is beneficial to conserve
    4 medical resources in the face of a pandemic such as the one we presently face. All
    5 these steps can slow or stop the spread of infection (or re-infection) and improve
    6 treatment outcomes if they are currently inadequate, to the benefit of residents and
    7 staff and, ultimately, the community at large.
    8               22.   Second, immediate downsizing that prioritizes residents who are
    9 elderly and those with underlying health conditions reduces the likelihood they will
   10 contract the disease or suffer severe medical consequences as a result of being
   11 infected. Individuals in these groups are at the highest risk of severe complications
   12 from COVID-19 and when they develop severe complications they will be
   13 transported to community hospitals. Reducing the spread and severity of infection in
   14 a prison slows, if not reduces, the number of people who will become ill enough to
   15 require hospitalization where they will be using scarce community resources (ER
   16 beds, general hospital beds, ICU beds) which also in turn reduces the health and
   17 economic burden to the local community at large. Indeed, in light of the new reality
   18 in which we operate, decisions to release residents from custody—traditionally
   19 concerned primarily with public safety—must also take into account the impact on
   20 public health. It is for this reason that release or transfer 2 of at-risk residents not
   21 only reduces their risk of death, but also increases public safety when the impact on
   22 public health is also considered.
   23               23.   Residents who have received confirmed diagnoses of COVID-19 in
   24 most cases may be safely released to the community, where they can quarantine or
   25 isolate at home. To the extent that the quality of care these residents currently
   26   2
        Transfer is only acceptable if the transfer itself does not pose significant risks and
   27 is a transfer to another facility where the quality of health care and COVID-19
   28 precautions are safe.
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    1 receive is inadequate, release would also ensure that residents have access to better
    2 health care.
    3               24.   In addition to the downsizing described above, and to the extent they
    4 are not already being implemented, the following steps should immediately be
    5 mandated of the Respondents in order to protect any residents who remain in
    6 custody:
    7                     a.    Social Distancing. The prison must ensure that residents are able
    8 to maintain adequate social distancing during required or necessary activities, such
    9 as collecting food, eating, and receiving medications.
   10                     b.    Immediate and Continued Testing. Patients (both staff and
   11 residents) who require testing (or re-testing) based on public health
   12 recommendations and the opinion of a qualified medical professional, should be
   13 tested for COVID-19.
   14                     c.    Immediate Screening. Defendants must be required to screen
   15 each employee or other person entering the facility every day to detect fever over
   16 100 degrees, cough, shortness of breath, other symptoms as currently recommended
   17 by CDC, and exposure to someone who is symptomatic or under surveillance for
   18 COVID-19, or screening as required by public health authorities. A record should be
   19 made of each screening.
   20                     d.    Quarantine. The prison must establish non-punitive quarantine
   21 for all individuals believed to have been exposed to COVID-19, but not yet
   22 symptomatic, and non-punitive isolation for those believed to be infected with
   23 COVID-19 and potentially infectious. Any individual who must interact with those
   24 potentially or likely inflicted with COVID-19 must utilize protective equipment as
   25 directed by public health authorities. In short, every possible effort must be made to
   26 separate infected or potentially infected individuals from the rest of the incarcerated
   27 population and each other.
   28                     e.    Post-Isolation or Quarantine. Individuals should only be released
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                                       DECLARATION OF MARC STERN, M.D.
        KYL4828-7404-3074.1
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    1 from quarantine or isolation in accordance with CDC guidelines as modified by
    2 local public health authorities, after which they should be monitored in accordance
    3 with those same guidelines.
    4                     f.   Institutional Hygiene. The prison must be required to provide
    5 adequate disinfection of all high-touch areas and cells.
    6                     g.   Personal Hygiene. The prison must be required to provide hand
    7 soap, disposable paper towels, and access to water to allow residents to wash their
    8 hands on a regular basis, free of charge and ensure replacement products are
    9 available as needed. Correctional staff should be allowed to carry hand sanitizer
   10 with alcohol on their person, and residents should be allowed to use hand sanitizer
   11 with alcohol when they are in locations or activities where hand washing is not
   12 available. Correctional officers should be required to wear personal protective
   13 equipment and perform hand hygiene when appropriate, consistent with the CDC
   14 guidance as modified by local health authorities
   15                     h.   Waive Copays. There must be a waiving of copays for medical
   16 evaluation and care related in any way to COVID-19 and/or its symptoms. A waiver
   17 of these types of copays is necessary to avoid dis-incentivizing patients from
   18 requesting medical treatment. Patients with symptoms of possible COVID-19 should
   19 be seen quickly.
   20                     i.   Access to Care. All residents should have timely access to an
   21 appropriately qualified health care professional.
   22                     j.   Personal Protective Equipment. Those residents with a cough
   23 should be provided masks as soon as they inform staff of this symptom or staff
   24 notice this symptom.
   25                     k.   Supply Chain. The prison must be required to identify the
   26 supplies and other materials upon which the institution is dependent, such as food,
   27 medical supplies, certain medicines, cleaning products, etc., and prepare for
   28 shortages, delays or disruptions in the supply chain.
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                                      DECLARATION OF MARC STERN, M.D.
        KYL4828-7404-3074.1
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    1               25.   Thus, in summary, consideration should be given to immediately
    2 reducing the number of individuals imprisoned at Lompoc for the health and safety
    3 of the prisons and our communities, taking into account the totality of risk posed to
    4 the public safety by each individual. This population reduction should begin with
    5 the most medically vulnerable which includes those over age 50 and those with
    6 CDC-defined underlying health conditions.
    7               26.   Considering Dr. Bernadett’s age and medical condition, I recommend
    8 that this increased risk to his health and the public’s health due to COVID-19 if he is
    9 incarcerated, be considered when calculating the totality of risk he poses to the
   10 community if he is confined at a prison facility.
   11
   12               I declare under penalty of perjury under the laws of the United States that the
   13 foregoing is true and correct.
   14
   15               Executed this 10th day of July, 2020, at Tumwater, Washington.
   16
   17
                                                        MARC F. STERN. MD, MPH
   18
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                                                                          LAW OFFICES

                                                         KEESAL, YOUNG & LOGAN
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STEPHEN YOUNG                 JODI S. COHEN                                                            STEFAN PEROVICH                             CHERYL S. CHANG
MICHAEL M. GLESS              JULIE L. TAYLOR‡                LONG BEACH, CA 90802                     RYAN S. LEAN                                KATHERINE L. HANDY
PETER R. BOUTIN               STACEY MYERS GARRETT                   (562) 436-2000                    KRISTY H. SAMBOR                            CASSIDY A. WALLACE
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PHILIP A. MCLEOD              DAVID D. PIPER‡                                                          VALERIE I. HOLDER‡*                         NATALIE M. LAGUNAS
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ROBERT J. STEMLER             ESTHER E. CHO                                                            BRYCE CULLINANE                             TERESA J. THONG
MICHELE R. UNDERWOOD          MELANIE L. RONEN‡

                                                                                                       *   ADMITTED IN ALASKA
                                                                   May 18, 2020                        †
                                                                                                       ‡
                                                                                                           ADMITTED IN WASHIN GTON
                                                                                                           ADMITTED IN WASHIN GTON & CALIFORNIA
                   OF COUNSEL                                                                          §   ADMITTED IN ALASKA & CALIFORNIA
ROBERT H. LOGAN         ELIZABETH A. KENDRICK                                                          +   A D M I T T E D I N DI S T RI C T O F C O L U M B I A & F L O R I D A
SCOTT T. PRATT          WILLIAM MCC. MONTGOMERY                                                        °   REGI STERED F OREI GN L AWYER WI T H T HE L AW SOCI ET Y
RICHARD A. APPELBAUM+   YALE H. METZGER*                                                                   OF HONG K ON G & ADMITTED IN NEW YORK
REAR ADMIRAL U S C G (RET )
                                                                                                           ALL OTHERS ADMITTED IN CALIFORNIA




               Via UPS Overnight
               L.J. Milusnic
               Acting Complex Warden
               USP Lompoc
               3901 KLEIN BLVD
               Lompoc, CA 93436

                                     Re:   Faustino Bernadett: Request for Home Confinement Evaluation Before
                                           August 18, 2020 Self-Surrender to FCC Lompoc (Register No. 78386-112)
                                           Our File No.: 6213-2

               Dear Warden Milusnic:

                               We write on behalf of our client, Dr. Faustino Bernadett (“Tino”) who is
               scheduled to self-report to FCC Lompoc on August 18, 2020 to begin serving a 15-month
               sentence. Tino, age 65, is a retired doctor and non-violent offender who has no criminal history
               beyond his guilty plea to a single count of misprision of a felony. As you know, the current
               outbreak of COVID-19 in this country has seriously impacted prison populations, especially the
               BOP’s facilities at Lompoc. Thank you for your extraordinary efforts combatting the virus at
               Lompoc. Despite those efforts, Lompoc has a high infection rate and the virus is running
               rampant. People like Tino over the age of 65 are especially vulnerable to contracting the virus
               and suffering fatal or life-altering consequences. Understandably, Tino is shaken by the notion
               of reporting into BOP custody while the virus is raging. We have already entered into two 60-
               day extensions of Tino’s self-surrender date with the United States Attorney’s Office. However,
               an end to the threat posed by the virus to vulnerable seniors is nowhere in sight.

                               We write to you today to respectfully request that you evaluate Tino for home
               confinement under the Attorney General’s April 3, 2020 memo and the BOP’s Acting Senior
               Deputy Assistant Director David Brewer’s April 20, 2020 memo instructing that vulnerable
               inmates at impacted facilities be released to home confinement for the remainder of their prison
               terms. Both of those memos are attached hereto as Exhibits “A” and “B.” We respectfully
               request that you make this evaluation and designate Tino to home confinement before his
               surrender date on August 18, 2020. Tino has no prior criminal history, did not engage in a sex or
               terrorism crime, poses no risk to the community, and has a viable release plan. Tino has several
               health conditions and risk factors that make him even more susceptible. Attached hereto as
               Exhibit “C” is the Presentence Investigation Report issued in Tino’s case, which confirms that he
               has met all the prerequisites for release to home confinement under the instructions established

      SAN FRANCISCO OFFICE                      ANCHORAGE OFFICE                            SEATTLE OFFICE                                    HONG KONG OFFICE
        450 PACIFIC AVENUE                            SUITE 7A                                 SUITE 3100                                         SUITE 1603
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           (415) 398-6000                    ANCHORAGE, AK 99501-3651                      SEATTLE, WA 98101                                      HONG KONG
             FACSIMILE:                            (907) 279-9696                            (206) 622-3790                                     (852) 2854-1718
   (415) 981-0136 • (415) 981-7729            FACSIMILE: (562) 436-7416                 FACSIMILE: (206) 343-9529                         FACSIMILE: (852) 2541-6189
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  L.J. Milusnic
  Acting Complex Warden
  May 18, 2020
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                 Re:   Faustino Bernadett: Request for Home Confinement Evaluation Before
                       August 18, 2020 Self-Surrender to FCC Lompoc (Register No. 78386-112)
                       Our File No.: 6213-2

  by David Brewer’s April 20, 2020 memo. Dr. Bernadett has paid the fine, restitution, and
  special assessment that were ordered by the Court. Dr. Bernadett has a health insurance plan and
  is willing to pay for any costs associated with monitoring during home confinement. Rather than
  having Dr. Bernadett report to your facility on August 18, 2020, almost certainly exposing him to
  the virus or him exposing the staff and inmate population to the virus, we urge that the only
  procedurally correct and humane solution is to confirm the information above and direct
  Dr. Bernadett to serve his sentence at home. An alternative would be to conduct any
  investigation necessary by correspondence, telephone communications, Skype and/or Zoom, or
  any other mechanism (including simply reviewing the Presentence Investigation Report prepared
  by the Probation Department) to avoid Dr. Bernadett’s attendance in-person at Lompoc. We are
  not asking for a shorter sentence or for him to simply be released.

                   We understand that the BOP is prioritizing inmates for home confinement
  consideration based on the amount of time they have already served. However, this policy does
  not consider the fact that soon-to-arrive inmates such as Tino are in a very different category.
  These people should not be made to report, sit in solitary confinement for 15 days, likely contract
  the virus, sit in solitary confinement for another 15 days, and then be released to home
  confinement. This order of operations does not achieve the goals laid out by the Attorney
  General in his April 3, 2020 memo. Those inmates who qualify for release under the Attorney
  General’s directive should be able to achieve this end-result before reporting to their BOP
  facility. More fundamentally, vulnerable elderly inmates with health conditions like Tino should
  not be required to report to their designated BOP facility before even being evaluated for home
  confinement under the Attorney General’s and David Brewer’s instructions. At the very least,
  these incoming inmates should be evaluated for home confinement before reporting to their
  BOP-designated facility.

                  Dr. Bernadett is also in the unique position of actively aiding, supporting, and
  advising medical professionals, NGO’s, community organizations, and governmental entities
  who are working on the front lines of the covid-19 containment effort. For example, to
  encourage a Southern California garment maker to begin producing masks, he placed their first
  10,000-mask order. Those masks are now on their way to, amongst other places, clinics, nursing
  homes, and grocery stores. He is largely responsible for helping a local Boyle Heights school
  stay open for the summer, he is critical in advising a ventilator company produce much-needed
  health care equipment, he is sponsoring the creation of TikTok videos to help encourage young
  people to wear masks, he is working with a federally qualified health plan to devise ways for
  expectant mothers to see their doctors without visiting a hospital, he is assisting the City of Long
  Beach with capacity planning, he is spearheading an effort to house the homeless in Long Beach
  in modified “shipping container” homes, and he is helping to provide internet and learning
  materials to children who lack access to both. He is doing all of this work, including signing up
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  L.J. Milusnic
  Acting Complex Warden
  May 18, 2020
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                  Re:   Faustino Bernadett: Request for Home Confinement Evaluation Before
                        August 18, 2020 Self-Surrender to FCC Lompoc (Register No. 78386-112)
                        Our File No.: 6213-2

  for the California Health Corps, on a voluntary basis. If he is committed to home confinement,
  he can continue this important work.

                 We respectfully request that Tino be immediately evaluated for home detention
  under the Attorney General and David Brewer’s memos. Please also consider this as Tino’s
  request for compassionate release under 18 U.S.C. § 3582. Tino is happy to submit himself to a
  Zoom, Skype, or telephone interview if that would be helpful.

                Thank you for your time and consideration of our request. Please let us know if
  you would like additional information regarding Tino.

                                                  Warm regards,

                                                  Samuel A. Keesal, Jr.
                                                  skip.keesal@kyl.com
  SAK:bc (KYL4823-2149-8043 1)
  Enclosures.
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                                                               U.S. Department of Justice
                                                               Memorandum
                                                               Federal Bureau of Prisons

  Correctionol Programs Branch                                  Central Office
                                                                3ZO First Street N.W.
                                                                Washington DC 20534




  MEMORANDUM FOR CORRECTIONAL PROGRAM ADMINISTRATORS



   FROM :                   ::::?~~Assistant
                                 Director


   SUBJECT :                     Furlough and Home Confinement Additi o nal Guidance


  The following guidance is provided from informat ion contained i n
  the CARES Act, memoranda from Attorney General Barr, and the
  Bureau of Pr i sons. This memorandum rescinds guidance previously
  provided .

  Furlough
  The current pandemic is considered an urgent situation that may
  warrant an emergency fur l ough unde r 570 .3 2(b) (1) and 570 . 33(b).
  These r e g ulations authorize a no n-transfer emergency furlough if
  t he inmate is ot her wi se deemed appropriate, even if he/she has
  be e n submitted fo r Horne Confinement (HC) . Effective April 16 ,
  2020 , all inmates referred for an emergency furlough due to the
  Covid-19 pandemic should be submitted and keyed as FURL CRI .

  Inmates who have been referred for a re le ase planni ng furloug h
  bas ed on guidance issued prior t o April 1 6, 2020 , do not requ ire
  a new application. These inma tes should be keyed out of the
  facility as FURL REL . Furlough applications comp l eted o n or
  after April 16 , 2020 , should f ollow t he updated guidance.
  Inmates within 12 months of his/her Pro jected Release Date
  ( PRD ) , or those who have received Home Confinement placement and
  have a PRD exceeding one year , should be reviewed for furloug h.

  Home Confinement
  I n an effort to alleviate concerns and questions, the following
  criteri a should be met when reviewing and referring inmates fo r
  HC:
      • Pr imar y or prior offense i s not violent
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      •   Primary or prior offense is not a sex offense
      •   Primary or prior offense is not terrorism
      •   No detainer
      •   Mental Health Care Level is less than CARE-MH 4
      •   PATTERN risk score is Minimum (R-MIN)
      •   No incident reports in the past 12 months (regardless of
          severity level)
      •   U.S. Citizen
      •   Viable Release Plan

   If the inmate meets the criteria above, the following factors
   should be noted, but are not a reason for denial:
       • Age
       • Projected Release Date
       • Percentage of time served
       • Medical Care Level
       • Victim Witness Program
       • Arrival dated (ARSD)

   Any concerns regarding an inmate's suitability for HC placement
   should be noted in Section 11 of the BP-210, Institutional
   Referral for CCC Placement.  It is strongly encouraged to refer
   inmates currently housed in a facility with active Covid-19
   cases.

   For inmates requesting relocation, a release plan must be
   submitted to the USPO prior to HC referral submission.  The USPO
   approval letter must be forwarded to the RRM, once received.
   Institution staff should contact the Health Service Specialist
   in the RRM's office with questions regarding HC placement for
   inmates with medical concerns.

   If you have any questions, please contact David Brewer, Acting
   Senior Deputy Assistant Director, Correctional Programs
   Division, at (202)353-3638.
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                                                 April 3, 2020




       MEMORANDUM FOR DIRECTOR OF BUREAU OF PRISONS


       FROM:             THE ATTORNEY        GENERAW~
       SUBJECT:         .lngeasing U~~ of Home Confinement at Institutions Most Affected by
                        COVID- 19


          The mission of BOP is to administer the lawful punishments that our justice system
  imposes. Executing that mission imposes on us a profound obligation to protect the health and
  safety of all inmates.

          Last week, I directed the Bureau of Prisons to prioritize the use of home confinement as a
  tool for combatting the dangers that COVID-1 9 poses to our vulnerable inmates, while ensuring
  we successfully discharge our duty to protect the public. I applaud the substantial steps you have
  already taken on that front with respect to the vulnerable inmates who qualified for home
  confinement under the pre-CARES Act standards.

         As you know, we are experiencing significant levels of infection at several of our facilities,
  including FCI Oakdale, FCI Danbury, and FCI Elkton. We have to move \\ith dispatch in using
  home confinement, where appropriate, to move vulnerable inmates out of these institutions. I
  would like you to give priority to these institutions, and others similarly affected, as you continue
  to process the remaining inmates who are eligible for home confinement under pre-CARES Act
  standards. In addition, the CARES Act now authorizes me to expand the cohort o f inmates w ho
  can be considered for home release upon my finding that emergency conditions are materially
  affecting the functioning of the Bureau of Prisons. I hereby make that finding and direct tbat, as
  detailed below, you give priority in implementing these new standards to the most vulnerable
  inmates at the most affected faci lities, consistent.with the guidance below.

  I.     IMMEDIATELY MAXIMIZE APPROPRIATE TRANSFERS TO HOME
         CONFINEMENT OF ALL APPROPR(ATE INMATES HELD AT FCI OAKDALE,
         FCI DANfilJRY, FCI ELKTON, AND AT OTHER SIMILARLY SITUATED nor
         FACILITIES WHERE COVID-19 IS MATERIALLY AFFECTING OPERATIONS
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  Memorandum from the Attorney General                                                  Page 2
  Subject: Increasing Use of Home Confinement at Institutions Most Affected by COVID-19


            While BOP has taken extensive precautions to prevent COVID-19 from entering its
   facilities and infecting our inmates, those precautions, like any precautions, have not been perfectly
   successful at all institutions. I am therefore directing you to immediately review all inmates who
   have COVTD-19 risk factors, as established by the CDC, starting with the inmates incarcerated at
   FCI Oakdale, FCI Danbury, FCI Elkton, and similarly situated facilities where you determine that
   COVID-19 is materially affecting operations. You should begin implementing this directive
   immediately at the facilities I have specifically identified and any other facilities facing similarly
   serious problems. And now that I have exercised my authority under the CARES Act, your review
   should include all at-risk inmates-not only those who were previously eligible for transfer.

           For all inmates whom you deem suitable candidates for home confinement, you are
   directed to immediately process them for transfer and then immediately transfer them following a
   14-day quarantine at an appropriate BOP facility, or, in appropriate cases subject to your case-by-
   case discretion, in the residence to which the inmate is being transferred. It is vital that we not
   inadvertently contribute to the spread of COVID-19 by transterring inmates from our facilities.
   Your assessment of these inmates should thus be guided by the factors in my March 26
   Memorandum, understanding, though, that inmates with a suitable confinement plan will generally
   be appropriate candidates for home confinement rather than continued detention at institutions in
   which COVID-19 is materially affecting their operations.

           I also recognize that BOP has limited resources to monitor inmates on home confinement
   and that the U.S. Probation Office is unable to monitor large numbers of inmates in the community.
   I therefore authorize BOP to transfer inmates to home confinement even if electronic monitoring
   is not available, so long as BOP determines in every such instance that doing so is appropriate and
   consistent with our obligation to protect public safety.

           Given the speed with which this disease has spread through the general public, it is clear
   that time is of the essence. Please implement this Memorandum as quickly as possible and keep
   me closely apprised of your progress.

   II.     PROTECTING THE PUBLIC

           While we have a solemn obligation to protect the people in BOP custody, we also have an
   obligation to protect the public. That means we cannot simply release prison populations en masse
   onto the streets. Doing so would pose profound risks to the public from released prisoners
   engaging in additional criminal activity, potentially including violence or heinous sex offenses.

           That risk is particularly acute as we combat the current pandemic. Police forces are facing
   the same daunting challenges in protecting the pt;iblic that we face in protecting our inmates. It is
   impossible to engage in social distancing, hand washing, and other recommend steps in the middle
   of arresting a violent criminal. It is thus no surprise that many of our police officers have fallen
   ill with COVID-19, with some even dying in the line of duty from the disease. This pandemic has
   dramatically increased the already substantial risks facing the men and women who keep us safe.
   at the same time that it has winnowed their ranks while officers recover from getting sick, or self-
   quarantine to avoid possibly spreading the disease.
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  Memorandum from the A ttorney General                                                 Page 3
  Subject: Increasing Use of Home Confinement at Institutions Most Affected by COVI0-19


          The last thing our massively over-burdened police forces need right now is the
  indiscriminate release of thousands of prisoners onto the streets without any verification that those
  prisoners will follow the laws when they are released, that they have a safe place to go where they
  will not be mingling with their old criminal associates, and that they will not return to their old
  ways as soon as they walk through the prison gates. Thus, while I am directing you to maximize
  the use of home confinement at affected institutions, it is essential that you continue making the
  careful, individualized determinations BOP makes in the typical case. Each inmate is unique and
  each requires the same individualized determinations we have always made in this context.

           I believe strongly that we should do everything we can to protect the inmates in our care,
   but that we must do so in a careful and individualized way that remains faithful to our duty to
   protect the public and the law enforcement officers who protect us all.
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                     EXHIBIT C
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                     . UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

  UNITED STATES OF AMERICA )
                           )
             vs.           ) PRESENTENCE INVESTIGATION REPORT
                           )
                                      ) Docket No.:     0973 8:19CR00121-1
          Faustino Bernadett          )
                                      )

  Prepared for:     The Honorable Josephine L. Staton
                    United States District Judge

 Prepared by:       Natalie Nelson
                    USPO
                    Santa Ana, CA
                    714-338-4558
                    natalie_nelson@cacp.uscourts.gov
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                                     Respectfully Submitted,

                                     MICHELLE A. CAREY
                                     Chief Probation & Pretrial Services Officer

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                                     Natalie Nelson
                                     U.S. Probation Officer
                                     714-338-4558

  Approved:




  Joseph Abrams
  Supervisor
  714-338-2909


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                                                                           LAW OFFICES

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JOHN D. GIFFIN                ELIZABETH H. LINDH                                                        JOSHUA NORTON                               SAMANTHA D. PARRISH
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MICHELE R. UNDERWOOD          MELANIE L. RONEN‡

                                                                                                        *   ADMITTED IN ALASKA
                                                                     July 16, 2020                      †
                                                                                                        ‡
                                                                                                            ADMITTED IN WASHIN GTON
                                                                                                            ADMITTED IN WASHIN GTON & CALIFORNIA
                   OF COUNSEL                                                                           §   ADMITTED IN ALASKA & CALIFORNIA
ROBERT H. LOGAN         ELIZABETH A. KENDRICK                                                           +   A D M I T T E D I N DI S T RI C T O F C O L U M B I A & F L O R I D A
SCOTT T. PRATT          WILLIAM MCC. MONTGOMERY                                                         °   REGI STERED F OREI GN L AWYER WI T H T HE L AW SOCI ET Y
RICHARD A. APPELBAUM+   YALE H. METZGER*                                                                    OF HONG K ON G & ADMITTED IN NEW YORK
REAR ADMIRAL U S C G (RET )
                                                                                                            ALL OTHERS ADMITTED IN CALIFORNIA




               Via Email
               Chung Hae Han (chung.han@usdoj.gov)                            Damon A Thayer (damon.thayer@usdoj.gov)
               AUSA – Office of U.S. Attorney                                 AUSA – Office of the U.S. Attorney
               300 North Los Angeles Street, Suite 7516                       300 North Los Angeles Street, Suite 7516
               Los Angeles, CA 90012                                          Los Angeles, CA 90012

               Keith M Staub (keith.staub@usdoj.gov)                          Paul Bartholomew Green (Paul.Green@usdoj.gov)
               AUSA – Office of U.S. Attorney                                 AUSA – Office of U.S. Attorney
               300 North Los Angeles, Street Room 7516                        300 North Los Angeles Street, Suite 7516
               Los Angeles, CA 90012                                          Los Angeles, CA 90012

                                     Re:   Torres, et al., v. Milusnic, et al.
                                           Case No. 20-CV-04450
                                           Our File No.: 6213-2

                 NOTICE OF DEFENDANT FAUSTINO BERNADETT’S STATUS AS A MEMBER OF
                  THE PROVISIONAL CLASS ESTABLISHED BY THE HONORABLE CONSUELO
                                  MARSHALL’S JULY 14, 2020 ORDER

               Dear Messrs. Han, Thayer, Staub, and Green:

                              We write on behalf of Dr. Faustino Bernadett (“Dr. Bernadett”), a 66-year old
               non-violent, white-collar, first-time offender with multiple underlying health conditions, who on
               January 17, 2020 was sentenced by Judge Josephine Staton of the Federal District Court for the
               Central District of California (Case No. 8:19-cr-00121-JLS) to 15 months’ incarceration in
               Bureau of Prisons (“BOP”) custody. 1 Currently, Dr. Bernadett is designated to report to the
               camp at Lompoc on August 18, 2020. 2

                              We reviewed the order of Judge Consuelo Marshall issued on July 14, 2020 in the
               case entitled Torres, et al. v. Milusnic, et al., currently pending in the United States District
               Court for the Central District of California (Case No. 20-CV-04450). Dr. Bernadett is a member
               of the provisional class certified by the July 14, 2020 Order because he is a “post-conviction,”
               “future” inmate of the Lompoc facility who is over the age of 50. He also suffers from serious
               underlying medical conditions that make him vulnerable to the COVID-19 virus. Therefore, we

               1 See U.S. v. Bernadett, Case No. 8:19-cr-00121-JLS, Doc. 50. All docket references made in this letter refer to the
               docket entries in matter number 8:19-cr-00121-JLS.
               2 As of the writing of this letter, Judge Staton is considering our pending ex parte motion to continue the surrender
               date for an additional 60 days.



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             FACSIMILE:                             (907) 279-9696                            (206) 622-3790                                     (852) 2854-1718
   (415) 981-0136 • (415) 981-7729             FACSIMILE: (562) 436-7416                 FACSIMILE: (206) 343-9529                         FACSIMILE: (852) 2541-6189
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  Office of the U.S. Attorney
  July 16, 2020
  Page 2

                 Re:   Torres, et al., v. Milusnic, et al.
                       Case No. 20-CV-04450
                       Our File No.: 6213-2

  respectfully request that he be included on your list of class members that is required to be
  submitted to Judge Marshall by July 20, 2020. See July 14, 2020 Order 48:22-27.

                  On May 18, 2020, we wrote to the warden at Lompoc, requesting: (1) that
  Dr. Bernadett be evaluated, pre-surrender, for his eligibility to serve his 15-month imprisonment
  in home detention, pursuant the Attorney General’s April 3, 2020 memo (instructing that
  vulnerable inmates at impacted facilities be released to home confinement for the remainder of
  their prison terms), and (2) that Dr. Bernadett be considered for compassionate release under
  18 U.S.C. § 3582. A copy of that letter is attached hereto as Exhibit “A.” The warden did not
  respond.

                 Attached hereto as Exhibit “B” is a recent letter from Dr. Bernadett’s treating
  physician, Dr. Robert Lugliani. Dr. Lugliani concludes that: “COVID-19 is currently in
  pandemic with a resurgence of cases in Los Angeles County . . . Patient [Dr. Bernadett] is
  advised of his high risk status due to age, hypertension, heart disease risk, weight, pulmonary
  risk and potentially immunocompromised position due to his elevated prostate specific antigen,
  which may indicate early prostate cancer, especially due to his youngest brother just completing
  treatment for an aggressive form of same. Patient advised to stay home as much as possible . . .”

                  As stated in the Presentence Investigation Report issued by the United States
  Probation Office, (attached hereto as Exhibit “C”), Dr. Bernadett is a first-time white-collar
  offender who poses no danger to the community and will certainly not reoffend. Dr. Bernadett
  paid the fine and forfeiture order imposed by Judge Staton, and he is not a flight risk (he has
  complied with all requirements imposed by the Pretrial Services Office and is being allowed to
  self-surrender).

               Dr. Bernadett has a viable release plan (attached as Exhibit “D”), which includes
  numerous important efforts to combat the COVID-19 virus and its economic impacts in Southern
  California.

                 Please consider this letter as Dr. Bernadett’s formal request to be included in the
  provisional class of future Lompoc inmates who should be evaluated for home confinement or
  compassionate release under Judge Marshall’s July 14, 2020 Order. If we can provide any
  additional information, please let us know. Please confirm that Dr. Bernadett’s information will
  be included in your submission to Judge Marshall.

                                                     Best regards,


                                                     Samuel A. Keesal, Jr.
                                                     skip.keesal@kyl.com
  SAK/GBH:pjl (KYL4837-0451-9363 2)
  Attachments.
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STEPHEN YOUNG                 JODI S. COHEN                                                            STEFAN PEROVICH                             CHERYL S. CHANG
MICHAEL M. GLESS              JULIE L. TAYLOR‡                LONG BEACH, CA 90802                     RYAN S. LEAN                                KATHERINE L. HANDY
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TERRY ROSS                    JON W. ZINKE°                            FACSIMILE:                      AILAN LIU                                   JAMES L. KRITENBRINK
JOHN D. GIFFIN                ELIZABETH H. LINDH                                                       JOSHUA NORTON                               SAMANTHA D. PARRISH
                                                                     (562) 436-7416
PHILIP A. MCLEOD              DAVID D. PIPER‡                                                          VALERIE I. HOLDER‡*                         NATALIE M. LAGUNAS
NEAL SCOTT ROBB               SANDOR X. MAYUGA                       www.kyl.com                       IGOR V. STADNIK†                            GEORGE A. CROTON
BEN SUTER                     CHRISTOPHER A. STECHER‡                                                  SIMON M. LEVY                               CONNOR M. TRAFTON
ROBERT J. STEMLER             ESTHER E. CHO                                                            BRYCE CULLINANE                             TERESA J. THONG
MICHELE R. UNDERWOOD          MELANIE L. RONEN‡

                                                                                                       *   ADMITTED IN ALASKA
                                                                   May 18, 2020                        †
                                                                                                       ‡
                                                                                                           ADMITTED IN WASHIN GTON
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                   OF COUNSEL                                                                          §   ADMITTED IN ALASKA & CALIFORNIA
ROBERT H. LOGAN         ELIZABETH A. KENDRICK                                                          +   A D M I T T E D I N DI S T RI C T O F C O L U M B I A & F L O R I D A
SCOTT T. PRATT          WILLIAM MCC. MONTGOMERY                                                        °   REGI STERED F OREI GN L AWYER WI T H T HE L AW SOCI ET Y
RICHARD A. APPELBAUM+   YALE H. METZGER*                                                                   OF HONG K ON G & ADMITTED IN NEW YORK
REAR ADMIRAL U S C G (RET )
                                                                                                           ALL OTHERS ADMITTED IN CALIFORNIA




               Via UPS Overnight
               L.J. Milusnic
               Acting Complex Warden
               USP Lompoc
               3901 KLEIN BLVD
               Lompoc, CA 93436

                                     Re:   Faustino Bernadett: Request for Home Confinement Evaluation Before
                                           August 18, 2020 Self-Surrender to FCC Lompoc (Register No. 78386-112)
                                           Our File No.: 6213-2

               Dear Warden Milusnic:

                               We write on behalf of our client, Dr. Faustino Bernadett (“Tino”) who is
               scheduled to self-report to FCC Lompoc on August 18, 2020 to begin serving a 15-month
               sentence. Tino, age 65, is a retired doctor and non-violent offender who has no criminal history
               beyond his guilty plea to a single count of misprision of a felony. As you know, the current
               outbreak of COVID-19 in this country has seriously impacted prison populations, especially the
               BOP’s facilities at Lompoc. Thank you for your extraordinary efforts combatting the virus at
               Lompoc. Despite those efforts, Lompoc has a high infection rate and the virus is running
               rampant. People like Tino over the age of 65 are especially vulnerable to contracting the virus
               and suffering fatal or life-altering consequences. Understandably, Tino is shaken by the notion
               of reporting into BOP custody while the virus is raging. We have already entered into two 60-
               day extensions of Tino’s self-surrender date with the United States Attorney’s Office. However,
               an end to the threat posed by the virus to vulnerable seniors is nowhere in sight.

                               We write to you today to respectfully request that you evaluate Tino for home
               confinement under the Attorney General’s April 3, 2020 memo and the BOP’s Acting Senior
               Deputy Assistant Director David Brewer’s April 20, 2020 memo instructing that vulnerable
               inmates at impacted facilities be released to home confinement for the remainder of their prison
               terms. Both of those memos are attached hereto as Exhibits “A” and “B.” We respectfully
               request that you make this evaluation and designate Tino to home confinement before his
               surrender date on August 18, 2020. Tino has no prior criminal history, did not engage in a sex or
               terrorism crime, poses no risk to the community, and has a viable release plan. Tino has several
               health conditions and risk factors that make him even more susceptible. Attached hereto as
               Exhibit “C” is the Presentence Investigation Report issued in Tino’s case, which confirms that he
               has met all the prerequisites for release to home confinement under the instructions established

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  L.J. Milusnic
  Acting Complex Warden
  May 18, 2020
  Page 2

                 Re:   Faustino Bernadett: Request for Home Confinement Evaluation Before
                       August 18, 2020 Self-Surrender to FCC Lompoc (Register No. 78386-112)
                       Our File No.: 6213-2

  by David Brewer’s April 20, 2020 memo. Dr. Bernadett has paid the fine, restitution, and
  special assessment that were ordered by the Court. Dr. Bernadett has a health insurance plan and
  is willing to pay for any costs associated with monitoring during home confinement. Rather than
  having Dr. Bernadett report to your facility on August 18, 2020, almost certainly exposing him to
  the virus or him exposing the staff and inmate population to the virus, we urge that the only
  procedurally correct and humane solution is to confirm the information above and direct
  Dr. Bernadett to serve his sentence at home. An alternative would be to conduct any
  investigation necessary by correspondence, telephone communications, Skype and/or Zoom, or
  any other mechanism (including simply reviewing the Presentence Investigation Report prepared
  by the Probation Department) to avoid Dr. Bernadett’s attendance in-person at Lompoc. We are
  not asking for a shorter sentence or for him to simply be released.

                   We understand that the BOP is prioritizing inmates for home confinement
  consideration based on the amount of time they have already served. However, this policy does
  not consider the fact that soon-to-arrive inmates such as Tino are in a very different category.
  These people should not be made to report, sit in solitary confinement for 15 days, likely contract
  the virus, sit in solitary confinement for another 15 days, and then be released to home
  confinement. This order of operations does not achieve the goals laid out by the Attorney
  General in his April 3, 2020 memo. Those inmates who qualify for release under the Attorney
  General’s directive should be able to achieve this end-result before reporting to their BOP
  facility. More fundamentally, vulnerable elderly inmates with health conditions like Tino should
  not be required to report to their designated BOP facility before even being evaluated for home
  confinement under the Attorney General’s and David Brewer’s instructions. At the very least,
  these incoming inmates should be evaluated for home confinement before reporting to their
  BOP-designated facility.

                  Dr. Bernadett is also in the unique position of actively aiding, supporting, and
  advising medical professionals, NGO’s, community organizations, and governmental entities
  who are working on the front lines of the covid-19 containment effort. For example, to
  encourage a Southern California garment maker to begin producing masks, he placed their first
  10,000-mask order. Those masks are now on their way to, amongst other places, clinics, nursing
  homes, and grocery stores. He is largely responsible for helping a local Boyle Heights school
  stay open for the summer, he is critical in advising a ventilator company produce much-needed
  health care equipment, he is sponsoring the creation of TikTok videos to help encourage young
  people to wear masks, he is working with a federally qualified health plan to devise ways for
  expectant mothers to see their doctors without visiting a hospital, he is assisting the City of Long
  Beach with capacity planning, he is spearheading an effort to house the homeless in Long Beach
  in modified “shipping container” homes, and he is helping to provide internet and learning
  materials to children who lack access to both. He is doing all of this work, including signing up
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  L.J. Milusnic
  Acting Complex Warden
  May 18, 2020
  Page 3

                  Re:   Faustino Bernadett: Request for Home Confinement Evaluation Before
                        August 18, 2020 Self-Surrender to FCC Lompoc (Register No. 78386-112)
                        Our File No.: 6213-2

  for the California Health Corps, on a voluntary basis. If he is committed to home confinement,
  he can continue this important work.

                 We respectfully request that Tino be immediately evaluated for home detention
  under the Attorney General and David Brewer’s memos. Please also consider this as Tino’s
  request for compassionate release under 18 U.S.C. § 3582. Tino is happy to submit himself to a
  Zoom, Skype, or telephone interview if that would be helpful.

                Thank you for your time and consideration of our request. Please let us know if
  you would like additional information regarding Tino.

                                                  Warm regards,

                                                  Samuel A. Keesal, Jr.
                                                  skip.keesal@kyl.com
  SAK:bc (KYL4823-2149-8043 1)
  Enclosures.
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                                                                U.S. Department of Justice
                                                                Memorandum
                                                                Federal Bureau of Prisons

   Correctionol Programs Branch                                  Central Office
                                                                 3ZO First Street N.W.
                                                                 Washington DC 20534




   MEMORANDUM FOR CORRECTIONAL PROGRAM ADMINISTRATORS



   FROM :                    ::::?~~Assistant
                                  Director


   SUBJECT :                      Furlough and Home Confinement Additi o nal Guidance


   The following guidance is provided from informat ion contained i n
   the CARES Act, memoranda from Attorney General Barr, and the
   Bureau of Pr i sons. This memorandum rescinds guidance previously
   provided .

   Furlough
   The current pandemic is considered an urgent situation that may
   warrant an emergency fur l ough unde r 570 .3 2(b) (1) and 570 . 33(b).
   These r e g ulations authorize a no n-transfer emergency furlough if
   t he inmate is ot her wi se deemed appropriate, even if he/she has
   be e n submitted fo r Horne Confinement (HC) . Effective April 16 ,
   2020 , all inmates referred for an emergency furlough due to the
   Covid-19 pandemic should be submitted and keyed as FURL CRI .

   Inmates who have been referred for a re le ase planni ng furloug h
   bas ed on guidance issued prior t o April 1 6, 2020 , do not requ ire
   a new application. These inma tes should be keyed out of the
   facility as FURL REL . Furlough applications comp l eted o n or
   after April 16 , 2020 , should f ollow t he updated guidance.
   Inmates within 12 months of his/her Pro jected Release Date
   ( PRD ) , or those who have received Home Confinement placement and
   have a PRD exceeding one year , should be reviewed for furloug h.

   Home Confinement
   I n an effort to alleviate concerns and questions, the following
   criteri a should be met when reviewing and referring inmates fo r
   HC:
       • Pr imar y or prior offense i s not violent
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      •   Primary or prior offense is not a sex offense
      •   Primary or prior offense is not terrorism
      •   No detainer
      •   Mental Health Care Level is less than CARE-MH 4
      •   PATTERN risk score is Minimum (R-MIN)
      •   No incident reports in the past 12 months (regardless of
          severity level)
      •   U.S. Citizen
      •   Viable Release Plan

   If the inmate meets the criteria above, the following factors
   should be noted, but are not a reason for denial:
       • Age
       • Projected Release Date
       • Percentage of time served
       • Medical Care Level
       • Victim Witness Program
       • Arrival dated (ARSD)

   Any concerns regarding an inmate's suitability for HC placement
   should be noted in Section 11 of the BP-210, Institutional
   Referral for CCC Placement.  It is strongly encouraged to refer
   inmates currently housed in a facility with active Covid-19
   cases.

   For inmates requesting relocation, a release plan must be
   submitted to the USPO prior to HC referral submission.  The USPO
   approval letter must be forwarded to the RRM, once received.
   Institution staff should contact the Health Service Specialist
   in the RRM's office with questions regarding HC placement for
   inmates with medical concerns.

   If you have any questions, please contact David Brewer, Acting
   Senior Deputy Assistant Director, Correctional Programs
   Division, at (202)353-3638.
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                                                  April 3, 2020




        MEMORANDUM FOR DIRECTOR OF BUREAU OF PRISONS


        FROM:             THE ATTORNEY        GENERAW~
        SUBJECT:          .lngeasing U~~ of Home Confinement at Institutions Most Affected by
                          COVID· l 9


           The mission of BOP is to administer the lawful punishments that our justice system
   imposes. Executing that mission imposes on us a profound obligation to protect the health and
   safety of all inmates.
           Last week, I directed the Bureau of Prisons to prioritize the use of home confinement as a
   tool for combatting the dangers that COVID-1 9 poses to our vulnerable inmates, while ensuring
   we successfully discharge our duty to protect the public. I applaud the substantial steps you have
   already taken on that front with respect to the vulnerable inmates who qualified for home
   confinement under the pre-CARES Act standards.
           As you know, we are experiencing significant levels of infection at several of our facilities,
   including FCI Oakdale, FCI Danbury, and FCI Elkton. We have to move \\ith dispatch in using
   home confinement, where appropriate, to move vulnerable inmates out of these institutions. I
   would like you to give priority to these institutions, and others similarly affected, as you continue
   to process the remaining inmates who are eligible for home confinement under pre-CARES Act
   standards. In addition, the CARES Act now authorizes me to expand the cohort o f inmates who
   can be considered for home release upon my finding that emergency conditions are materially
   affecting the functioning of the Bureau of Prisons. I hereby make that finding and direct tbat, as
   detailed below, you give priority in implementing these new standards to the most vulnerable
   inmates at the most affected faci lities, consistent.with the guidance below.

   I.      IMMEDIATELY MAXIMIZE APPROPRIATE TRANSFERS TO HOME
           CONFINEMENT OF ALL APPROPR(ATE INMATES HELD AT FCI OAKDALE,
           FCI DANfilJRY, FCI ELKTON, AND AT OTHER SIMILARLY SITUATED nor
           FACILITIES WHERE COVID-19 IS MATERIALLY AFFECTING OPERATIONS
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            While BOP has taken extensive precautions to prevent COVID-19 from entering its
   facilities and infecting our inmates, those precautions, like any precautions, have not been perfectly
   successful at all institutions. I am therefore directing you to immediately review all inmates who
   have COVTD-19 risk factors, as established by the CDC, starting with the inmates incarcerated at
   FCI Oakdale, FCI Danbury, FCI Elkton, and similarly situated facilities where you determine that
   COVID-19 is materially affecting operations. You should begin implementing this directive
   immediately at the facilities I have specifically identified and any other facilities facing similarly
   serious problems. And now that I have exercised my authority under the CARES Act, your review
   should include all at-risk inmates-not only those who were previously eligible for transfer.

           For all inmates whom you deem suitable candidates for home confinement, you are
   directed to immediately process them for transfer and then immediately transfer them following a
   14-day quarantine at an appropriate BOP facility, or, in appropriate cases subject to your case-by-
   case discretion, in the residence to which the inmate is being transferred. It is vital that we not
   inadvertently contribute to the spread of COVID-19 by transterring inmates from our facilities.
   Your assessment of these inmates should thus be guided by the factors in my March 26
   Memorandum, understanding, though, that inmates with a suitable confinement plan will generally
   be appropriate candidates for home confinement rather than continued detention at institutions in
   which COVID-19 is materially affecting their operations.

           I also recognize that BOP has limited resources to monitor inmates on home confinement
   and that the U.S. Probation Office is unable to monitor large numbers of inmates in the community.
   I therefore authorize BOP to transfer inmates to home confinement even if electronic monitoring
   is not available, so long as BOP determines in every such instance that doing so is appropriate and
   consistent with our obligation to protect public safety.

           Given the speed with which this disease has spread through the general public, it is clear
   that time is of the essence. Please implement this Memorandum as quickly as possible and keep
   me closely apprised of your progress.

   II.     PROTECTING THE PUBLIC

           While we have a solemn obligation to protect the people in BOP custody, we also have an
   obligation to protect the public. That means we cannot simply release prison populations en masse
   onto the streets. Doing so would pose profound risks to the public from released prisoners
   engaging in additional criminal activity, potentially including violence or heinous sex offenses.

           That risk is particularly acute as we combat the current pandemic. Police forces are facing
   the same daunting challenges in protecting the pt;iblic that we face in protecting our inmates. It is
   impossible to engage in social distancing, hand washing, and other recommend steps in the middle
   of arresting a violent criminal. It is thus no surprise that many of our police officers have fallen
   ill with COVID-19, with some even dying in the line of duty from the disease. This pandemic has
   dramatically increased the already substantial risks facing the men and women who keep us safe.
   at the same time that it has winnowed their ranks while officers recover from getting sick, or self-
   quarantine to avoid possibly spreading the disease.
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   Subject: Increasing Use of Home Confinement at Institutions Most Affected by COVI0-19


           The last thing our massively over-burdened police forces need right now is the
   indiscriminate release of thousands of prisoners onto the streets without any verification that those
   prisoners will follow the laws when they are released, that they have a safe place to go where they
   will not be mingling with their old criminal associates, and that they will not return to their old
   ways as soon as they walk through the prison gates. Thus, while I am directing you to maximize
   the use of home confinement at affected institutions, it is essential that you continue making the
   careful, individualized determinations BOP makes in the typical case. Each inmate is unique and
   each requires the same individualized determinations we have always made in this context.

           I believe strongly that we should do everything we can to protect the inmates in our care,
   but that we must do so in a careful and individualized way that remains faithful to our duty to
   protect the public and the law enforcement officers who protect us all.
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                     . UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

   UNITED STATES OF AMERICA )
                            )
              vs.           ) PRESENTENCE INVESTIGATION REPORT
                            )
                                      ) Docket No.:     0973 8:19CR00121-1
          Faustino Bernadett          )
                                      )

  Prepared for:     The Honorable Josephine L. Staton
                    United States District Judge

  Prepared by:      Natalie Nelson
                    USPO
                    Santa Ana, CA
                    714-338-4558
                    natalie_nelson@cacp.uscourts.gov
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                                      Respectfully Submitted,

                                      MICHELLE A. CAREY
                                      Chief Probation & Pretrial Services Officer

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                                      Natalie Nelson
                                      U.S. Probation Officer
                                      714-338-4558

   Approved:




   Joseph Abrams
   Supervisor
   714-338-2909


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AMERICAN PACIFIC
MEDICAL GROUP
 Commilft•d co your llcalth                                                                           Robert Lugliani, M.D.
                                                                                                      Respiratory Disease, Internal Medicine
                                                                                  President, ProHealth Partners, Argus Medical Management




     Name: Faustino Bemadett
     DOB: 05/29/ 1954
     Age: 66
     Date of Report: July 09, 2020
     Date of Service: July 01, 2020. Follow-up: July 09, 2020


     History of present illness:

     This is a 66 year old male who is well known to this examiner, returns primarily for annual
     exam . Patient complains of wife ' s noticing that he coughs intermittently throughout the day and
     especially at night and early morning. He checks temperature daily because of COVID-19 and
     has not noted any rncrease. Cough is dry, more prominent with cold dry air exposure and
     productive in morning of clear sputum. Denies dyspnea, hemoptysis, night sweats, fever, chills
     or weight loss. History of asthma as child. History of anterior bulging disk C5/C6. History of
     dysphasia. Patient reports taste and smell are intact. No extreme fatigue noted recently. No
     known COVID-19 exposure. Wears mask when outside the home and maintains social distance.

     Continues to have pain in cervica1 spine, with weakness, tingling and numbness in bilateral upper
     extremities including hands and fingers. Also continues to have pain in low back, hip/buttock,
     and numbness in right big toe. Occasional radiation of pain bilateratty in lower extremities.

     Patient complains of right forefoot pain for several months status post trauma and persistent left
     ankle pain.

     Allergies:
     No Known Allergies.

     DEPRESSION SCREENING:
     Not at all the patient reports little interest or pleasure in doing things .
     Not at all the patient reports feeling down, depressed or hopeless.

     Falls Prevention:
     Discussed Fall Prevention
     No falls or 1 fall without injury in last year.
     Patient assessed for falls.

     REVIEW OF SYSTEMS
     HEENT: Denies pharyngitis, rhinitis or sinusitis. Dry eyes with history of eye surgeries for
     vision. Chronic keratoconjunctivitis, uses eyedrops several times per day.
     RESPIRATORY: AS PER IDSTORY OF PRESENT ILLNESS


                              1045 Atlantic Avenue, Suite 902 · Long Beach. California 90813
                                          Tel (562) 437-0996 · Fax (562) 495-4631
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  CARDIOVASCULAR: Denies any history of chest pains, palpitations, paroxysmal nocturnal
  dyspnea, dyspnea on exertion or orthopnea. Denies ankle edema. Denies increasing and
  progressive chest pressure or palpitations. Family history: Mother with congestive heart failure,
  s/p myocardial infarction, and stroke.
  GASTROINTESTINAL: History of hemorrhoids managed with Preparation-H pads and cream
  as necessary. Denies anorexia, nausea, vomiting, bematemesis, melena or diarrhea.
  GENITOURINARY: Patient reports frequency, urgency of urination, and nocturia. No dysuria.
  Brother with prostate cancer.
  NEUROLOGIC: Denies dizziness, lightheadedness, syncope or seizures. Denies tremors.
  Occasional left eye pain/cephalgia managed with over-the-counter analgesics. Weakness as
  reported on previous orthopedic exam.
  MUSCULOSKELETAL: AS PER HISTORY OF PRESENT ILLNESS AND PREVIOUS
  ORTHOPEDIC EXAM.
  DERMATOLOGIC: Denies rashes, pruritic areas, easy bruisability or bleeding.
  PSYCIITATRIC: Denies severe anxiety or depression . Insomnia due to chronic pain. Managed
  with medication along with sleep routine and lumbar and knee pillows.

  VITAL SIGNS:
  Recorded By Lugliani MD, Robert on 07/01 /2020
  Weight 190
  Pulse Rate 75; Blood Pressure 171/108 Pain level : 5/ 10
  Pul se Oximetry: 97%

  Vital signs on 07/09/2020 at follow-up visit to review labs and x-rays:
  Subjective: Started Ramipril. No worsening of cough or fever, no other COVID- 19 symptoms.
  Temperature: 96.6; Pulse: 73; Blood Pressure: 154/89 Pain level: 5110
  Pulse Oximetry: 97%

  Physical Examination

  HEENT: The head is nonnocephalic. The pupils are equal , round, and react to light and
  accommodation. Slight conjunctiva! injection noted both eyes. Residue of eyedrops noted at
  outer canthus, both eyes. Tympanic membranes are clear. Throat is free of any exudates or
  erythema.
  NECK: No cervical adenopathy appreciated , supple, no jugular venous distension below at 35
  degrees. Thyroid is not palpable or enlarged. The carotid arteries upstrokes are normal , equal
  bilaterally.
  CHEST: Normal AP diameter
  LUNGS: Lungs are clear.
  HEART: Regular sinus rhythm . No significant heaves, rubs, or gallops are appreciated.
  ABDOMEN: Soft. Good bowel sounds. Liver, kidneys, spleen are nonpalpable. No abdominal
  masses, abdominal bruits, or pulsatile masses noted.
  RECTAL/GENITALIA: Not performed by this examiner.
  EXTREMITIES: No clubbing cyanosis, or edema. Good peripheral pulses are appreciated
  throughout. Tenderness to palpation, left plantar forefoot in the area of the first and second
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  metatarsal phalangeal joint. Spine: Some limitation of twisting, stooping, lifting, flexing and
  extending. Detail ed exam deferred to ortho.
  LYMPHATIC: No significant lymphadenopathy appreciated and auxiliary, inguinal,
  supraclavicular posterior and anterior cervical areas.
  NEUROLOGIC: Cranial nerves are grossly intact. Asymmetric gtip strength noted with tight
  grip less than left, though right dominant. Numbness of right great toe noted. Detailed exam
  deferred to ortho.
  BACK: Detailed exam deferred to ortho.
  SKIN: No rashes or bruising noted at this time. Lumbar healed surgical scar noted.


  Additional reports reviewed :
  Orthopedic report by Dr. Harry Marinow, July 29, 2019.

  Summary and discussion :

  Chronic cervical neck pain:
     l. Multiple levels of severe foramina1 stenosis with 8 degrees of kyphosis at C4-CS
     2. Anterior disc bulging of 7mm C4-C5 associated with occasional dysphasia

  Chronic upper back pain with radicular symptoms (numbness, tingling and weakness) in arms,
  legs and toe numbness
      l. Compression fracture of thoracic vertebrae T-12

  Chronic low back pain and limitation of fiexion, extension, stooping, twisting and lifting due to:
     I . Lumbar spondylosis
     2. Fusion oflumbar spine levels L4-L5 , LS-SI
     3. Bilateral L3-L4, L4-LS severe facet arthropathy
     4. Listhesis with hypertrophic changes and neuroforaminal narrowing at Ls-s ·1

  Chronic intermittent hip pain:
     1. Right hip degenerative osteoarthritis
     2. Post-traumatic retrosacra1 fluid collection between gluteus maximus and subcutaneous fat
        requiring pad when seated

  Chronic pain in left knee, ankle and foot:
     1. History of left knee tom medial collateral ligament, requiring knee support
     2. Laxity of left anterior cruciate ligament, requiring knee support

  Assessment/Problem List

     1.   Hypertension
     2.   Hypercholesterolemia
     3.   Hypertriglyceridemia
     4.   Chronic intermittent cough with history of asthma and bulging cervical disc.
     5.   Significant family history of heart failure and stroke
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      6. Overweight BMI 27
      7. Elevated Prostate Specific Antigen (PSA) with prostatic hypertrophy with significant
           family history of prostate cancer
      8. Chronic pain. numbness, tingling, and decreased strength due to traumatic
           musculoskeletal injuries, including but not limited to bulging discs in the spine at
           numerous levels, back surgery and compression fracture of spine, as well as severe
           narrowing of spinal cord opening at several places in the spinal column.
      9. Left forefoot traumatic arthritis
      10. Left anlde pain due to knee and foot injuries leading to irregular gait, requiring ankJe
           support
      l 1. Chronic pain in hip, knee, ankle and foot due to sequelae of traumatic injuries
      12. Tension headache
      13. Chronic keratoconjunctivitis of both eyes due to history of eye surgeries requiring
           frequent eye drops throughout the day
      14. Hemorrhoids
      15. Insomnia due to chronic pain


  Discussion and Plan

  Hypertension, hypercholesterolemia, hypertriglyceridemia, overweight BMJ and a family history
  of heart attack, stroke and congestive heart failure indicate early heart disease and high risk for
  heart attack and stroke. While there is no current indication of acute disease, patient should alter
  lifestyle and take prescribed medications to lower blood pressure and cholesterol to slow the
  progression. Diet modification (low fat, low salt, low calorie) to lose weight and daily exercise
  60 minutes per day along with Ramipril 2.5mg once daily and Atorvastatin lOmg daily.

  The patient's cough indicates reactive airways with which may be due to chronic microaspiration
  due to the bulging cervical spine disc or longstanding subclinical asthma that has worsened with
  the added insult of microaspiration. Will follow closely and conduct a full workup if worsens.

  Prostatic hypertrophy with elevated PSA and si!,rnificant family history of prostate cancer
  (brother). Symptoms managed medically. Continue tadalafil 5mg once daily . At elevated risk
  of prostate cancer due to continued elevated PSA, hypertrophic prostate and brother treated for
  aggressive prostate cancer recently . Repeat PSA in 4-6 months and consider referral to Urologist
  at that ti me.

  The patient experiences chronic pain from his neck to his lower back due to traumatic
  musculoskeletal injuries, fractures and spine surgery, as well as foraminal narrowing and bulging
  discs. He has limitations in twisting, stooping, flexing and extending and should not lift heavy
  items. Left forefoot traumatic arthritis - orthotic support should be continued. Left ankle pain
  should be managed with support worn during the daytime and at night as necessary. Knee
  support should be worn during the day and at night as needed to aid in pain relief. The patient
  has been managed weJI on current medical regimen and orthotic supports. Continue ibuprofen
  600-800mg every 6-8 hours as needed for pain, along with acetaminophen 1OOOmg every 12
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   hours as needed for pain and orthotic supports. Repeat MRI should be ordered after COVID-1 9
   is better controlled.

   Tension headaches should continue to be managed with over-the-counter analgesics.

   Chronic keratoconjunctivitis followed by optometrist annually and eyedrops used several times
   per day as needed to maintain moisture. Patient advised that with increased mask wearing eyes
   will be prone to dry out more, so increased use of eye drops will be necessary and chalazion
   prevention by cleaning eyes nightly with warm washcloth and baby shampoo is recommended .

   Hemorrhoids should continue to be managed with Preparation-H pads and creams. After
   COVID- 19 subsides, will refer for evaluation by gastroenterologist to evaluate and schedule
   screening col onoscopy.

   Patient' s insomnia is due to chronic pai n. Insomnia, in tum, worsens chronic pain, so sleep is
   very important. Patient should continue to use eszopiclone 2mg nightly as needed and zolpidem
   tartrate 3.5mg SL nightly as needed along with lumbar and knee pillows and sleep regimen,
   trying to get to sleep and awaken at same times each night and day.

   COVID-19 is currently in pandemic with a resurgence of cases in Los Angeles County and many
   other places around the state. Patient is advised of his high risk status due to age, hypertension,
   heart disease risk, weight, pulmonary risk and potentially immunocompromised position due to
   his elevated prostate specific antigen, which may indicate early prostate cancer, especially due to
   his youngest brother just completing treatment for an aggressive form of same. Patient advised
   to stay home as much as possible, but when out of the house, avoid gatherings of more than 10
   people, maintain six feet from others and wear an N-95 mask when in public or within 6 feet of
   others. Maintain diligent hand hygiene with soap and water and hand sanitizer and avoid
   touching face and eyes.




   Robert Lugliani, M.D.
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                     . UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

   UNITED STATES OF AMERICA )
                            )
              vs.           ) PRESENTENCE INVESTIGATION REPORT
                            )
                                      ) Docket No.:     0973 8:19CR00121-1
          Faustino Bernadett          )
                                      )

  Prepared for:     The Honorable Josephine L. Staton
                    United States District Judge

  Prepared by:      Natalie Nelson
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                    Santa Ana, CA
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                                      Respectfully Submitted,

                                      MICHELLE A. CAREY
                                      Chief Probation & Pretrial Services Officer

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                                      Natalie Nelson
                                      U.S. Probation Officer
                                      714-338-4558

   Approved:




   Joseph Abrams
   Supervisor
   714-338-2909


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                         Faustino Bernadett’s Plan for Home Confinement

                 Faustino Bernadett (“Dr. Bernadett”) has been on supervised release since July
  15, 2020. He has been living at his home in Palos Verdes, CA and will continue to reside there
  with his wife. Due to Dr. Bernadett’s age and underlying health conditions, he and his wife are
  quarantining in place at their home. He will continue to do so while under home confinement.

                Dr. Bernadett has private healthcare coverage. As such, he is able to obtain
  medical treatment if necessary.

               While under home confinement, Dr. Bernadett will continue his important work
  in the community. Here is a comprehensive list of his incredible works:

           •   California Health Corps: The first action Dr. Bernadett took was to register with the
               California Health Corps. This corps was established when California called for
               retired physicians to come out of retirement and assist during the COVID-19
               pandemic. He is a retired anesthesiologist and pain management doctor with
               expertise in chronic pain management in people of all ages, including the elderly, and
               preventing opioid addiction. He also signed-up as a volunteer with the Medical
               Reserve Corps of Los Angeles.

           •   Mask Donations: Dr. Bernadett and his wife contacted a local garment manufacturer
               and asked whether they had the ability to begin making masks. They committed to
               purchasing their first set of masks, if they needed a commitment to proceed. The
               manufacturer took up the challenge, and has since converted to producing masks as
               part of the Los Angeles LA Protect initiative. While the Bernadett order was amongst
               the first, the very first masks went to healthcare providers through LA Protect. The
               manufacturer now produces 10,000 or more masks a week, and now produces masks
               for children as well as adults. Ten thousand masks purchased, and then donated by
               Dr. Bernadett and his wife, are now used at, amongst other places, a US Post Office
               branch, the Hawthorne Police Department, clinics, nursing homes, and grocery stores.

           •   Encouraging Mask Wearing Amongst Youth: Dr. Bernadett anticipated early that
               youth would be reticent to wear masks. He also anticipated the need to wear masks in
               public for months to come. As such, he reached out to teens and young adults about
               how to best influence young people to wear masks in public. He then contacted
               social media influencers who will post pictures and clever videos of themselves
               wearing masks online to create enthusiasm among youth to wear masks. This
               includes a TikTok video challenge to show young people wearing masks.

           •   Ventilator Production: As a volunteer, Dr. Bernadett is advising a company that
               manufactures ventilators. It currently produces pediatric ventilators and is planning
               to shift production to adult ventilators, applying a design that relies upon already
               approved FDA parts. He has no financial interest in the company and is receiving no
               compensation.

           •   Protecting Expectant Mothers from COVID-19: Dr. Bernadett has been advising
               on the design of access to care for pregnant women, without exposure to COVID-19.

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               He has done this after being approached by a large federally qualified health center
               (aka “free clinic”) requesting help with the challenge of caring for pregnant women
               without the usual number of office visits during the pregnancy, to avoid potential
               exposure to COVID-19. He is advising the health center on how to conduct pre-natal
               programs using home monitoring and reporting to minimize office visits and potential
               exposure to COVID-19. They have requested ongoing help as other program design
               challenges arise during the crisis.

           •   Capacity Planning with the City of Long Beach: Dr. Bernadett is advising the City
               of Long Beach and the hospital and healthcare system in Long Beach on capacity
               planning, including use of hotel and motel rooms and event space for purposes of
               quarantine, temporary housing for first responders, health workers, recuperating
               patients and the homeless. Calls, meetings, and written reports are ongoing, and will
               need to continue beyond the peak of the virus, and for months to come. In this effort,
               Dr. Bernadett served as an advisor in the re-opening of Long Beach Community
               Hospital for the purpose of expanding hospital bed capacity in Long Beach. He is
               also continuing to participate on the board of St. Mary Hospital Foundation and he
               met with the foundation to discuss their current plan for COVID-19 response. He
               recently termed out of the St. Mary Hospital Foundation board and was recognized
               for his decades of service.

           •   Protecting the Homeless: The problems and challenges faced by the City of Long
               Beach to address disease transmission among the homeless in Long Beach has also
               been on Dr. Bernadett’s mind. He and his wife helped the city to identify hotel rooms
               in the city that could be used for housing and they assisted in developing guidance for
               a discussion around how to address longer-term needs in this area. In the course of
               this research, the governor announced Project Roomkey, a joint program of the state,
               county, and Federal Emergency Management Agency, seeking to place homeless in
               hotels during the crisis to isolate them and allow for quarantine. He and his wife also
               identified a source of longer-term housing options that would provide low cost
               housing for the homeless: modified shipping containers that include a bathroom,
               kitchen, and living room/bedroom in each unit. They went to the lengths of
               identifying contractors and skilled labor for improvements, and are in the process of
               assessing the supply chain to construct 100 such tiny homes within 14 days. The
               homes could be built concurrently, if supplies are available. Further, they have
               procured donated space, including several large parking lots, which could be used to
               create a community. These tiny homes are made in and around the Port of Los
               Angeles and Port of Long Beach and would create work for those in construction. It
               requires five people 14 days to build one of these homes. An estimated 400 people
               would be employed to build these homes. Dr. Bernadett and his wife have gone to
               the lengths of identifying a second builder, and are awaiting specifics on the potential
               small self-contained dwelling (e.g. has bathroom and shower in the unit).
               Subsequently, the city was informed that it could purchase hotels for purposes of
               longer-term housing for the homeless, and chose to take that approach first. Still, Dr.
               Bernadett continues to maintain the relationships to construct the container tiny home
               housing, as he anticipates that the hotel purchases might fall through or not be
               sufficient to house the numbers of homeless locally.


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           •   Providing Internet Access and Learning Materials to Children: In an effort to
               counteract the long-term detrimental economic impacts of the virus on struggling
               families, Dr. Bernadett is focused on reaching children without access to the internet
               or to educational resources during this difficult time away from school. He wants to
               make sure they do not fall behind. As such, since the arrival of COVID-19 in this
               country, Dr. Bernadett and his wife made the lead donation ($1,000,000) to the
               National 4-H Council’s Fourward campaign to use toward COVID-19 impacted youth
               in areas where no broadband exists (primarily in rural areas). In this program, the 4-
               H is working to connect as many kids as possible to the internet and provide
               resources like 4-H at Home. Where internet connection is not possible, books and
               educational resources are being sent. In addition to the $1,000,000 donation, Dr.
               Bernadett and his wife are donating 100,000 books, as a start. This project also
               included a Harris Poll survey that identified mental health challenges encountered by
               youth in the wake of COVID-19 isolation. The survey results are currently being
               distributed nationally through the Land Grant Universities, Historically Black
               Colleges and Universities, Tribal Colleges and Hispanic Serving Universities via
               Cooperative Extension. Dr. Bernadett and his wife recently provided a grant to
               expand a counselling center in East San Jose to provide mental health services to
               youth and their families (at a school site) who cannot afford counselling.

           •   Supporting Santa Teresita Catholic School in Boyle Heights: In an effort to ensure
               that the virus does not close important educational facilities in impacted communities,
               Dr. Bernadett and his wife reached out to Santa Teresita Catholic School in Boyle
               Heights shortly after schools started sending their students home. They know this
               Catholic K-8 school because several years ago they refilled all of the books in their
               library, because they had none. They knew that the school served a population that
               was at risk for significant backslide if the school closed. Of the 197 students that
               normally attend the school, only eight had an employed parent as of the beginning of
               April. Most students had no access to broadband, or a computer or a tablet even if
               they did. Now, almost all of them have computers and all but five have access to the
               internet. These children are in grave danger of missing educational and
               developmental milestones as well as at high risk for domestic violence in their homes.
               Dr. Bernadett approached the principal of the school to find out if there would be
               summer school for these kids. She said that they did not have the funds for that. She
               agreed that individual learning plans for each child would help them very much,
               especially in this stressful time, as many of the children were behind academically
               even before the COVID-19 crisis. Dr. Bernadett and his wife offered to pay for the
               costs of operating the summer school. The next day the assistant superintendent told
               the principal that they would be allowed to offer summer school. In addition to
               keeping the school open, Dr. Bernadett and his wife are covering the purchase of new
               textbooks that will also be available electronically, as well as laptops for teachers so
               they can teach remotely, as necessary.

                    Dr. Bernadett has not been performing any function that requires a medical
  license.




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                                           October 2, 2020


  The Honorable William P. Barr
  Attorney General
  U.S. Department of Justice
  950 Pennsylvania A venue, NW
  Washington, D.C. 20530

  Michael Carvajal
  Director
  Federal Bureau of Prisons
  U.S. Department of Justice
  320 First Street NW
  Washington, D.C. 20534

  Dear Attorney General Barr and Director Carvajal:

          You must do more to protect Bureau of Prisons (BOP) staff and vulnerable inmates from
  infection due to the coronavirus (COVID- 19). Too many have died, and too many are suffering
  needlessly.

          On March 23, 2020 - when there were just three inmates and three staff members who
  had tested positive - a bipartisan group of 14 senators wrote to you, expressing serious concern
  for the health and wellbeing of federal prison staff and inmates and urging you to take necessary
  steps to protect them, particularly by using existing authorities under the First Step Act of 2018
  to release or transfer to home confinement the most vulnerable inmates. 1 On June 2, 2020,
  Director Carvajal testified before the Senate Judiciary Committee to explain the BOP's response
  to the pandemic. By that time, 68 inmates had died, more than 5,200 inmates and 600 staff had
  tested positive, and the rate of infection within BOP was more than six times higher than in the
  general population, yet you had transferred just two percent of inmates to home confinement. At
  the hearing, many Senators expressed concern that the Department of Justice (DOJ) and BOP
  were not doing enough to contain the virus and protect those most vulnerable to infection.
  Nonetheless, Director Carvajal assured the Committee that BOP had a "robust pandemic plan in
  place" and the "plan evolves as information about the nation's COVID response measures are
  updated." 2 Director Carvajal said that BOP had "positive cases in less than half of [its] prisons,




  1
   https://www.durbin.senate.gov/imo/media/doc/Letter.%20to%20DOJ%20and%20BOP%20on%
  20COVID- l 9%20and%20FSA%20provisions%20-
  %20final%20bipartisan%20text%20with%20signature%20blocks.pdf.
  2 https://www.judiciarv.senate.gov/meetings/exarnining-best-practices-for-incarceration-and-

  detention-during-covid- 19.
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  with less than 20 facil ities having a significant presence of COVID" and " in fact, two-thirds of
  [BOP's] positive cases are located in just seven of 122 BOP institutions." 3

           Since the date of Director Carvajal's testimony, the virus has spread to almost every BOP
  institution and dozens of federal halfway houses. At least 133 inmates and two staff members
  have died due to the coronavirus, and these deaths have occurred in more than 40 facilities. 4
  Almost 17 ,000 inmates and staff have tested positive since the pandemic began and currently
  there are active cases at more than 150 BOP institutions and halfway houses. More than 50
  facilities currently have more than five active inmate or staff cases, which is undoubtedly a
  "significant presence," given the ease with which this disease spreads. Based on BOP statistics,
  the rate of infection within BOP remains nearly four and a halftimes higher than in the general
  population. 5

           This is mounting evidence that efforts to contain the virus within BOP facilities are
  failing. As Director Carvajal recognized when he testified in June, the best way to reduce the
  spread of the virus is through social distancing, but "prisons by design are not made for social
  distancing." 6 In fact, social distancing is virtually impossible to maintain inside prison faci lities
  absent substantial population reductions, but DOJ and BOP continue to make only minimal use
  of its authority to release inmates to home confinement. While decisions to release inmates are
  no doubt complex, you must do more to release inmates.

          BOP became aware of the dangers of the pandemic nine months ago. As Director
  Carvajal testified in June, "BOP's response to COVID-19 began in January." 7 At that time, BOP
  had the authority to release vulnerable inmates under the compassionate release and elderly
  home confinement provisions of the First Step Act. Six months ago, under the CARES Act,
  Congress expanded BOP's authority to transfer incarcerated individuals to home confinement
  during the pandemic, which was a bipartisan recognition of the need to reduce prison populations
  to reduce the spread of the virus. On March 26, 2020, Attorney General Barr issued a memo,
  directing BOP to prioritize the use of statutory authorities to grant home confinement for inmates
  during the pandemic. 8 Notwithstanding this broad statutory authority and the Attorney General ' s
  direction, BOP has transferred only about four percent of the prison population to home
  confinement, while thousands more eligible inmates could safely be released. In a report of an
  inspection of the pandemic response at the Federal Correctional Complex Lompoc, the DOJ
  Office of Inspector General (OIG) found that BOP "did not fully leverage" its authority to
  transfer inmates to home confinement, and the use of home confinement as a mechanism to


  3
    Director Carvajal provided no information about positive cases at BOP halfway houses.
  4
    https://www.bop.gov/coronavirus/index.jsp.
  5
    These statistics likely significantly underestimate the extent of the virus in BOP facilities, given
  the limited testing and BOP's decision to report cases and deaths only when there is a positive
  test.
  6
    https://www.judiciary.senate.gov/meetings/examining-best-practices-for-incarceration-and-
  detention-during-covid-l 9.
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    https://www.judiciary.senate.gov/meetings/examining-best-practices-for-incarceration-and-
  detention-during-covid-l 9.
  8 https://www.bop.gov/coronavirus/docs/bop memo home con fi nement. pdf.
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  reduce inmate population was "extremely limited."9 The same appears to be true at many other
  facilities.

          The failure to release more inmates has cost lives, including the life of Andrea High Bear,
  who tragically died after giving birth while on a ventilator. At the time of her death, she was the
  only known positive case at the Federal Medical Center (FMC) Carswell. Since then, five more
  women have died at FMC Carswell and more than 500 have been infected. 10 Others have died at
  BOP facilities within months of their full term release date for nonviolent offenses, while BOP
  failed to respond to their requests for compassionate release. 11 While some of the 133 who have
  died may garner less sympathy because of the nature of their offenses, none of these men and
  women were sentenced to die in prison. Nearly all of those who have died in custody had long
  term pre-existing conditions that put them at risk, and thus BOP was on notice that they were
  vulnerable. 12

          In addition, there are disturbing reports that BOP has invested in unproven and
  potentially dangerous treatments, including spending almost three million dollars on ultraviolet
  sanitizing devices, which the World Health Organization says should not be used on humans, 13
  and sixty thousand dollars on hydroxychloroquine, which the Food and Drug Administration has
  cautioned against using for the treatment ofCOVID-19. 14 In contrast, BOP reportedly has not
  consistently maintained proven preventative measures, such as social distance and the use of
  hand sanitizer. 15

          In June, Director Carvajal testified that testing resources were "extremely limited at the
  beginning of this pandemic," but claimed that "as testing resources have become more widely
  available," BOP was "expanding testing to [the] inmate population which [was] helping [BOP]
  to quickly identify and isolate positive cases to flatten the curve when an outbreak occurs." 16 In
  response to questioning at the hearing, BOP added testing numbers to its website. These numbers
  show that BOP is not making widespread use of testing to control the spread of the virus, but
  rather has tested only 40 percent of the inmate population. 17 BOP also reportedly does not test



  9  https://oig.justice.gov/reports/remote-inspection-federal-correctional-complex-lompoc.
  10
      https://www.bop.gov/coronavirus/i ndex. jsp.
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      https ://v..rww. washingtonpost.com/I ocal/public-safety/frail-inmates-could-be-sent-home-to-
  prevent-the-spread-of-covid-1 9-i nstead-some-are-dying-in-federal-
  prisons/2020/08/02/992 f d484-b636- l l ea-9b0f-c797548c 1154 story.html.
  12 https://www.bop.gov/resources/press_releases.jsp.
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      https://abcnews.go.com/Politics/bureau-prisons-spends-million-uv-sanitizing-gates-
  contracts/story?id=72234824.
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      https://www.forbes.com/sites/walterpavlo/2020/04/07/bureau-of-prisons-recently-purchased-
  hydroxychloroguine-controversiaJ-covid-l 9-treatment/#29cec4942839.
  15
      https://www.washingtonpost.com/nation/2020/08/24/prisoners-guards-agree-about-federal-
  coronavirus-response-we-do-not-feel-safe/.
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  staff, but requires staff to find testing resources in the community. 18 Thus, BOP is not always
  aware, and does not always report, when staff test positive. Without BOP testing staff and more
  widespread testing of inmates, asymptomatic employees and staff are almost certainly spreading
  the virus within BOP facilities.

          Staffmg shortages also are contributing to the insufficient response to the pandemic. The
  OIG inspection of Lompoc found that both a preexisting shortage of medical staff and
  insufficient correctional staffing interfered with the pandemic response at the facility, where
  nearly 1,000 inmates have been infected and several inmates have died as a result of exposure to
  COVID-19. 19 Similar staffmg shortages at other facilities, including the United States
  Penitentiary Thomson, could have similarly devastating outcomes.

          During this crisis, transparency is critical to maintaining public confidence. Tracking the
  number of inmates and staff who test positive on the public website is useful, but BOP does not
  publicize the number of those who are symptomatic and presumptive positives. BOP also
  reports deaths of inmates who tested positive, but may not be reporting the deaths of presumptive
  positive inmates who did not test positive.

           The transfer of inmates from sites with outbreaks, to sites with no outbreaks, without first
  testing inmates and limiting transfers to inmates who test negative, also raises serious concerns
  because asymptomatic inmates can carry the virus and these transfers could spread the disease to
  facilities and communities that may otherwise be unaffected. A recent report indicated that BOP
  is permitting the U.S. Marshals Service to transfer inmates between BOP facilities, and from
  private facilities to BOP facilities, without first testing these inmates and assuring they are not
  carrying the virus, once again raising concerns about spreading the virus to otherwise unaffected
  communities. 20

          At the June hearing, Senators raised concerns about BOP's use of the PATTERN risk
  assessment tool to make home confinement decisions. This tool was developed pursuant to the
  First Step Act, but to this day, the tool itself has not been posted to the BOP website, as required
  by the First Step Act, leading to widespread confusion and leaving offenders and their families in
  the dark as to the scoring system. Moreover, this tool was not developed to make assessments
  regarding medical vulnerability or suitability for transfer to home confinement, and the accuracy
  of PATTERN has not yet been studied or tested, making it particularly inappropriate for use in
  making these life-or-death decisions.

         Equally concerning is the DOJ data suggesting that the tool would produce racially
  disparate results. 21 Although some changes were made to the tool in response to these concerns,


  18
     https://www.federaltimes.com/management/2020/06/05/bop-pushes-staff-covid-testing-
  responsibility-onto-outside-programs/.
  19
      https://oig.justice.gov/reports/remote-inspection-federal-correctional-complex-lompoc.
  20
     https://www.themarshallproject.org/2020/08/13/con-air-is-spreading-covid-19-all-over-the-
  federal-prison-system.
  21
     https://www.bop.gov/inmates/fsa/docs/the-first-step-act-of-20 l 8-risk-and-needs-assessment-
  svstem.pdf at 62.
Case
 Case2:20-cv-04450-CBM-PVC
      2:20-cv-04450-CBM-PVC Document
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  no evidence was produced to demonstrate that these changes would reduce racial disparities, and
  thus far DOJ has not released demographic data from the implementation of PATTERN.

         At the June hearing, Director Carvajal testified that the racial breakdown of transfers to
  home confinement "mirror[s]" the racial breakdown within the prison population. 22 Following
  the hearing, BOP provided Congressional staff with demographic data for all inmates on home
  confinement, purporting to support the assertion that there has been no racial disparities created
  by the use of PATIERN for home confinement decisions. The data provided, however, is based
  on everyone on home detention, not just those who were placed on home detention based on
  PATIERN during the pandemic, as was requested at the hearing.

         At the hearing in June, Director Carvajal asked that Congress come directly to BOP for
  answers regarding BOP's response to the pandemic, rather than relying on news reports, which
  he described as "misunderstandings" of BOP operations. 23 To ensure an accurate understanding
  ofBOP's pandemic response, please provide answers to the following:

       •   Why has BOP not transferred more inmates to home confinement under the CARES Act?

       •   Why is BOP not placing more inmates in home confinement under the Elderly Home
           Confinement program?

       •   Why is BOP opposing nearly every request for compassionate release under the First
           Step Act?

       •   Has BOP exposed any inmates or staff to ultraviolet light, and if so, how many? Please
           provide details.

       •   Has BOP given hydroxychloroquine to inmates or staff for the treatment of COVID-19
           and if so how many? Please provide details.

       •   Why is BOP not making broader use of testing as a tool to contain the virus?

       •   Is BOP making testing available to staff, and if not, why not?

       •   What is BOP doing to address the staffing shortages that are interfering with BOP's
           ability to respond to the pandemic?

       •   Will BOP commit to publicly reporting the number of inmates who are symptomatic and
           presumptive positives, and the deaths of any of these inmates?



  22
     https://www.judiciary.senate.gov/meetings/examining-best-practices-for-incarceration-and-
  detention-during-covid-l 9.
  23
     https://www.judiciary.senate.gov/meetings/examining-best-practices-for-incarceration-and-
  detention-during-covid-l 9.
Case
 Case2:20-cv-04450-CBM-PVC
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     •   Why has BOP not required the testing of inmates before or when the United States
         Marshals Service transfers them to BOP facilities and permitted the transfer of only those
         who test negative for COVID-19?

     •   Why is DOJ using PATTERN to deny home confinement placement, when the tool is not
         tested, may produce racially disparate results, and is not designed for such assessments?

     •   Please provide a copy of the current Program Statement regarding the use of PATIERN
         and the version of the assessment tool currently in use at BOP facilities.

     •   Please provide demographic data for all of the risk assessments conducted using
         PATTERN, including race and gender for each risk category.

     •   Please provide demographic data for inmates who have been placed on home
         confinement based on criteria that include PATTERN, or alternatively, the demographic
         data for inmates placed on home confinement after March 26, 2020.

     •   The First Step Act requires BOP to provide programjng opporturuties to inmates and to
         award inmates earned time credits for program completion. Is BOP providing these
         opportunities and awarding credits during the pandemic?

           You have the discretion to significantly reduce the risk the pandemic poses to BOP staff,
  inmates, and the surrounding communities, by reducing prison populations. Every day that you
  fail to do so, more people are at risk. We look forward to your prompt response.


  Sincerely,




   Richard J. Durbin
   United States Senator                            United States Senator
